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                       EXHIBIT A
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(12)   United States Patent                                                     (10)   Patent No.:     . US 6,863,974 B2
       Shah et al.                                                              (45)   Date of Patent:        Mar. 8,2005


(54)    MULTILAYER NON-STICK COATING                                              5,240,775   A • 8/1993 Tannenbaum                   428/422
                                                                                  5,250,356   A   10/1993 Balzar                      428/421
(75)    Inventors: Shatish Shah, Chicago, IL (US);                                5,478,651   A • 12/1995 Tannenbaum                  428/422
                   Henry Padilla, Chicago, IL (US)                                5,562,991   A • 10/1996 Tannenbaum                  428/421
                                                                                  6,291,054   B1   9/2001 Thomas et al. ..            428/141
(73)    Assignee: Akzo Nobel Coatings International                                     FOREIGN PATENT DOCUMENTS
                     B.V. (NL)
                                                                           EP                433872           6/1991
(*)     Notice:      Subject to any disclaimer, the term of this           EP                974404           1/2000
                     patent is extended or adjusted under 35               WO            W098/16361           4/1998
                     U.S.C. 154(b) by 0 days.                              WO            WOO2/14066           2/2002
                                                                                               OTHER PUBLICA:rIONS
(21)    Appl. No.: 10/661,725
                                                                           Search Report of Corresponding Inlernational Patenl Appli-
(22)    Filed:       Sep. 12, 2003                                         cation Serial No. PCT/EP03/20296, dated Dec. 3, 2003.
(65)                 Prior Publication Data                                * cited by examiner
        us 2004/0110011 Al   Jun. 10, 2004
                                                                           Primary Examiner-Ramsey Zacharia
                Related U.S. Application Data                              (74) Attorney, Agent, or Firm~uis A. Morris
(60)    Provisional application No. 60/410,712, filed on Sep. 13,
        2002                                                               (57)                      ABSTRACT

(51)    Int. CI.7                 B05D 1/36; B05D 5/08;                    A non-stick coating formed on a substrate comprising a
                    B32B 15/08; B32B 27/08; B32B 27/20                     primer composition and a topcoat composition, wherein the
(52)    U.S. CI                428/325; 428/328; 428/329;                  primer composition is between the topcoat composition and
                    428/331; 428/411.1; 428/421; 428/422;                  substrate. The primer composition comprises at least one
                 428/457; 428/473.5; 428/474.4; 427/385.5;                 heat resistant adhesion promoter. The topcoat composition
                                                 427/407.1                 comprises at least one fluorocarbon resin and at least one
(58)    Field of Search                  427/385.5, 407.1;                 heat resistant adhesion promoter other than a fiuoropolymer
                   428/325,328,329,330, 331, 411.1, 421,                   that may be the same or different than the adhesion promoter
                                    422, 457, 473.5, 474.4                 of the primer composition. There are inorganic inert par-
                                                                           ticles with an average particle size of at least about 10
(56)                   References Cited                                    micrometers contained in the primer composition. The
                                                                           invention includes the method for forming the coating.
                  U.S. PATENT DOCUMENTS
       4,351,882 A    * 9/1982 Concannon       ,         428/422                               22 Claims, No Drawings




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        MULTIIAYER NON·STICK COATING                                  prising a primer composition and a topcoat composition. The
                                                                      primer composition is between the topcoat composition and
          CROSS REFERENCE TO RELATED
                     APPLICATION                                      the substrate. The primer composition comprises at least one
                                                                      heat resistant adhesion promoter. The topcoat composition
  This application claims priority from Provisional appli- 5          comprises at least one fluorocarbon resin and at least one
cation No. 60/410,712, filed Sep. 13,2002.                            heat resistant adhesion promoter other than a fluoropolymer
           BACKGROUND OF TIlE INVENTION                               that may be the same or different than the adhesion promoter
   1. Field of the Invention                                          of the primer composition. There are inorganic inert par-
                                                                      ticles with an average particle size of at least about 10
   The present invention relates to a substrate coated with a
non-stick coating.                                               10
                                                                      micrometers contained in the primer composition.
   2. Prior Art                                                          In another embodiment, the invention comprises a method
                                                                      of applying a coating to a substrate comprising the sequen-
   Non-stick coatings are well known in the art. In these
                                                                      tial steps of:
coatings normally fluorocarbon resins are used, since these
                                                                      a. Preparing the surface of the substrate for said coating;
resins have a low surface energy as well as thermal and          15
                                                                      b. Applying a primer composition comprising at least one
chemical resistance. However, non-stick coatings solely
                                                                         heat resistant adhesion promoter and inorganic inert par-
based upon fluorocarbon resins suffer from poor adhesion to
                                                                         ticles with an average particle size of at least about 20
the substrate and poor scratch and abrasion resistance. Such
                                                                         micrometers;
coatings are easily damaged when cut with a knife or another          c. Applying a topcoat composition comprising at least one
metal tool. Rubbing or sanding also easily wears these           20
                                                                         fluorocarbon resin and at least one heat resistant adhesion
coatings away.
                                                                         promoter other than a fluoropolymer that may be the same
   It is known in the art that the adhesion can be improved              or different than the adhesion promoter of the primer
by roughening of the (metal) substrate, e.g. by grinding,                composition; and
sand blasting, acid etching, brushing or baking a rough layer         d. Baking the coated substrate at a temperature from about
of glass, ceramic or enamel frit onto the substrate. This is     25      3800 C. to about 440 0 C.
disadvantageous since it is an additional step in the manu-              Other embodiments of the invention comprise details
facturing process, which can be time consuming and/or                 concerning compositions, relative amounts of'ingredients,
requires the heating of the substrate.                                particle sizes and method steps.
   To improve the adhesion to substrates and the mechanical
properties (in particular, scratch resistance and abrasion       30               DETAILED DESCRIPTION OF TIlE
resistance) of these coatings, the fluorocarbon resin is mixed                                 INVENTION
with one or more heat resistant binder resins for better                 According to the present invention, the substrate, such as
adhesion and one or more pigments and/or fillers for color-           aluminum or aluminum shaped articles, is coated with a
ing and improvement of the mechanical properties.                     non-stick coating, wherein the coating is obtained by apply-
   Non-stick coatings may be applied in a single layer or as     35   ing a primer composition and a topcoat composition,
a multilayer coating.                                                 wherein the primer composition comprises a heat resistant
   U.S. Pat. No. 6,291,054 descnbes a multilayer non-stick            resin as an adhesion promoter. It is preferred that the primer
coating wherein the undercoat (primer) comprises a mixture            composition be substantially free of any fluorocarbon resin.
of a fluorocarbon polymer, a heat resistant binder, and large         The topcoat composition comprises at least one fluorocarbon
hard ceramic particles. The topcoat comprises a fluorocar-       40   resin. The topcoat also contains a heat resistant resin in
bon resin. In the undercoat the heat resistant binder should          addition to the fluoropolymer resin and is preferably the
improve the adhesion to the substrate, the fluorocarbon resin         same heat resistant resin found in the primer composition.
should improve the adhesion between the primer and the                Primer Composition
topcoat, and the large hard ceramic particles should improve             In addition to the heat resistant binder (adhesion
the mechanical properties. However, the presence of the          45   promoter), the primer composition can comprise one or
fluorocarbon resin (which has non-stick properties) lowers            more of the following components: fillers, pigments
the adhesion of the primer to the substrate and the adhesion          surfactants, solvents, defoamers, and any otber component
of the ceramic particles within the primer layer.                     for a coating composition known to the person skilled in the
   In WO 02/14066 a single layer non-stick coating is                 art. More particularly, in a preferred embodiment, the primer
disclosed. This single layer comprises a binder resin, a         50   composition comprises from about 10 wt. % to about 60 wt.
fluorocarbon resin and filler material. However, this single          % of the adhesion promoter, from about 10 wt. % to about
layer non-stick coating has the same disadvantages as the             60 wI. % of the inorganic inert particles and from about 10
three-component primer layer described above.                         wI. % to about 60 wt. % of other ingredients selected from
   Surprisingly it was found that in a multilayer non-stick           the group consisting of fillers, pigments surfactan ts,
coating good adhesion between the primer layer and a next        55   solvents, defoamers and mixtures thereof, the wI. % being
coating layer that is i1Pplied on top of the primer layer             calculated on basis of the solid content of tbe primer
comprising a fluorocarbon resin can be obtained if the                composition.
primer layer comprises a heat resistant binder and is sub-               The fillers in the primer composition may be selected
stantially free of fluorocarbon resin. Therefore, the primer          from the group consisting of barium sulfate, calcium sulfate,
layer shows optimum adhesion to the substrate and to             60   calcium carbonate, silicas and silicates.
optionally present particles to improve the abrasion resis-              The primer composition may be substantially free of
tance of the coating, whereby the adhesion to the next                fluorocarbon resin.
coating layer is not compromised.                                     Topcoat Composition
                                                                       "In addition to the fluorocarbon resin and heat resistant
          SUMMARY OF TIlE INVENTION                      65           resin, the topcoat composition can comprise one or more of
  Accordingly, in one embodiment the present invention                the following components: fillers, pigments surfactants,
comprises a non-stick coating formed on a substrate com-              solvents, defoamers, and any other component for a coating
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  composition"known to the person skilled in the art. Further               The fluorocarbon resin can also be present as a polymer
  the topcoat composition can comprise an acrylic resin and a            powder, in which case normally an organic liquid is used to
 catalyst. Components that can be present in the topcoat                mix the particles into the coating composition.
 composition include butyl carbitol, triethanolamine, oleic             Heat Resistant Binder (Adhesion Promoter)
 acid, a hydrocarbon fluid, and a cerium based catalyst.            5       The heat resistant binder that is present in the primer
     In a preferred embodiment the topcoat composition is a             composition is a polymer that is film-forming upon heating
 waterbome composition, wherein all ingredients are dis-                (such as by radiation), evaporation of the solvent, and is also
 persed in water or are water-soluble.
                                                                         thermally stable. The binder shows good adhesion to the
     In a preferred embodiment the topcoat composition also
                                                                        substrate and to the lIuoropolymer composition that is
 comprises at least 5 wt. % of a fluorocarbon resin dispersion     10
                                                                        applied over the primer composition. Preferred binders are
 wherein said resin is melt flowable at a temperature above
      0
 300 C. The presence of such resin will enable the manu-                those that are soluble or solubilized in water or a mixture of
 facture of a non-stick coating with a smooth surface and               water and one ore more organic solvents for the binder. This
 good release properties.                                               solvent should be miscible with water. The solubility of the
    In a preferred embodiment the topcoat composition com-              binder enhances the mixing of the binder with the other
 prises 55-70 wI. % of fluorocarbon resin dispersion, 3-10         15 components that are present in the primer composition.
 wt. % of a fluorocarbon resin that is flowable at a tempera-              An example of a suitable heat resistant binder component
 ture above 300· C., and 5-15 wt. % of an acrylic resin the             is a polyamic acid resin (pAl), whicb converts to a polya-
 wt. % being calculated on the basis of the solid content of            mideimide upon beating. This binder when fully imidized is
 the topcoat composition.                                               able to withstand a continuous service temperature in excess
    In another preferred embodiment, the topcoat composi-         20 of 250· C. In general, the polyamic acid is dissolved in a
 tion comprises from about 1 wt. % to about 20 wt. %                   suitable combination of a solvent, sucb as
 adhesion promoter, the wt. % being calculated on basis of              Nmethylpyrolidone, water, and suitable tertiary alkyl amine.
 the solid content of said topcoat composition.                         Another example of a suitable heat resistant binder compo-
 Overcoat (Additional Layers)                                           nent is polyethersulfone (PES). These polymers can with-
    If present, the over-coat layer, or layers, composition can   25 stand a continuous service temperature in tbe range from
 comprise one or more of the following components: fillers,             1700 C. to 190· C. Also polyphenylene sulfide (PPS) can be
 pigments surfactants, solvents, defoamers, and .any other             used as a heat resistant binder, eitber alone or in a mixture
 component for a coating composition known to the person                with PAl or PES.
skilled in the art.                                                        Examples of beat resistant binders that can be used
    In a preferred embodiment, the coating is obtained by         30 according to tbe present invention include Torlon@ Al-10
 applying an over-coat composition, such as a lIuoropolymer            (ex. Solvay), and Radel A-300 (ex. Solvay).
 rich clear-coat which is essentially free of pigments or                  Preferred heat resistant adhesion promoters are selected
fillers, after the topcoat composition is applied.                     from the group consisting of polyamideimide resins, poly-
    In a further preferred embodiment the over-coat layer              ethersulfone resins and polyphenylene sulfide resins, or
composition comprises about 55-70 wt. % of a fluorocarbon         35 combinations thereof.
resin dispersion, about 3-10 wt. % of a fluorocarbon resin                 A most preferred heat resistant adhesion promoter com-
 that is melt flowable at a temperature above about 3000 C.,           prises polyamideimide resin.
and about 5-15 wt. % of a film fo=ing resin.                           Inorganic Inert Particles
    The preferred overcoat composition comprises at least                  The primer composition comprises inorganic particles
one fluorocarbon resin, most preferably one that is flowable      40 with an average particle size of from about 10 micrometers
at a temperature above about 300· C.                                    to about 80 micrometers which are inert with respect to the
Fluorocarbon Resin                                                     other components that are present in the composition and
    Examples of fluorocarbon resins that can be used in the            can witbstand a continuous service temperature in excess of
present invention include one or a mixture of fluorocarbons            250· C. In addition, tbese particles are also stable at tbe
selected from the group consisting of poIytetrafluoroethyl-       45 eventual baking temperature of the non-stick coating. The
ene (PTFE), tetrafluoroethylene (TFE), hexalluoropropylene             particles are also not soluble in water or any otber solvent
(HFP), perfluoropropylvinyl ether (PPVE), perfluoroalkyl               that is present in the primer composition.
vinyl ether, perfluoroalkyl vinyl ethylene co-polymers.                    Examples of suitable inorganic particles include inorganic
Commercial examples are copolymers tetrafluoroethylene-                oxides, carbides or nitrides of elements in groups IIA-VB of
hexafluoropropylene (FEP), tetrafluoroethylene-                   50 the periodic table and natural minerals and mixtures thereof.
perfluoroalkyl vinyl ether copolymers (PFA) and ethylene-              Preferred inorganic particles include particles witb an aver-
tetrafluoroethylene copolymers (ElFE).                                 age particle size of at least 20 micrometers and more
    If the contemplated application or use of the coated item          preferably in tbe range from about 20 to about 80 microme-
is high temperature, the selection offluoropolymer(s) should           ters. The inorganic particles have a preferred Mobs hardness
be those that are heat stable.                                    55 of at least about 5, more preferably a mohs bardness of at
    PTFE is an example of a heat resistant or stable fluoro-           least about 6. Examples of inorganic particles with Mobs
carbon resins that can be used according to the present                hardness above 5 include alumina, zirconia, silicon carbide,
invention.                                                             titanium carbide, aluminum boride, and cristobalite.
    Fluorocarbon resins that are melt flowable at a tempera-               In addition to the inorganic inert particles mentioned
ture above 3000 C. include copolymers of lFE, e.g., FEP           60 above, the coating compositions used according to tbe
and PFA.                                                               present invention can also comprise fillers, additives, and
    The fluorocarbon resins are generally available as a               pigments tbat are commonly used in tbe preparation of
dispersion of the polymer in water. In this dispersion the            (coating compositions. Fillers can be any fillers known tn
polymer particles have a small size (usually around 0.2                tbose skilled in the art, e.g., barium sulfate, calcium sulfate,
micrometers) and a surfactant is used to obtain a stable          65 calcium carbonate, silicas or silicates (sucb as talc, feldspar,
dispersion. For some polymers it is desirable to include an            and china clay). Additives sucb as stabilizers, antioxidants,
organic liquid in the dispersion.                                      leveling agents, ant settling agents, malting agents, rheology
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 modifiers, surface-active agents, UV light absorbers, light      topcoat was obtained following a final bake of 427 deg C..
 stabilizers, amine synergists, waxes, or adhesion promoters      (metal temperature) for 3-5 minutes. The resulting baked
 can also be added.                                               film was comprised of 24.2 wt % PAl and 19.8 wt % PTFE
 Application of the Coating                                       in the primer and 77.9 wt % PTFE and 4.56 wt % PFA in the
    The substrates coated according to the present invention 5 . topcoat layer.
 can be aluminum shaped articles, such as pots, pans, lids,                                Example 1
 mixing spoons, and all other utensils usually employed for
                                                                     In an embodiment of the invention, A primer comprised of
 food preparation and cooking (baking pans, oven racks etc.)
                                                                  33.0 wt % polyamideimide (Torlon@ Al 10 from Solvay),
 as well as aluminum sheet to be shaped into the aforesaid
                                                                  38.0 wt % Silicon Carbide (#600-W from ELECTRO
 articles. In both cases, the aluminum support is simply 10 ABRASIVE POWDERS, average ps=l1 microns) and no
 degreased according to any known method, e.g., in an             fluoropolymer component, and a topcoat comprised of 58.14
 alkaline or acid environment, or with organic solvents. In       wt % PTFE Dispersion (Fluon@ GP1 from Asahi Glass) and
 this treatment, the aluminum support maintains the surface       0.5 wt % polyamide-imide (Torlon@ Al 10 from Solvay)
 roughness of the aluminum sheet, i.e. below 1.2 microme-         was applied to an non-gritblast hard anodized aluminum
 ters. In addition to the degreasing it is possible to roughen 15 substrate in the form of a frying pan such that dry film
 the surface.                                                     thickness of 0.5 mil primer and 0.5 mil topcoat was obtained
    The fluorocarbon resin may be applied as a dispersion of      following a final bake of 427 deg C. (metal temperature) for
 the resin in water with a surfactant.                            3-5 minutes. The resulting baked film was comprised of
    Alternatively, the fluorocarbon resin may be applied as a     33.0 wt % PAl and 38.0 wt % SiC in the primer and 90.3 wt
 polymer powder with an organic liquid.                        20 % PTFE and 1.3 wt % PAl in the topcoat layer.

                           EXAMPLES
      The following applies to the examples given below:
   Scotch Brite Abrasion Test                                                   Test Results (obtained via the scotch brite egg release test)

      The Scotch Brite Abrasion' Test measures a coating's            25      Pan             # Cycles       Results
   resistance to a constant scrubbing with an abrasive scouring            -------....;...-------------
  pad. The vertical load on the scouring pad is set to 10 pounds              Cantrall         <10,000       Exposure of Substrate
   (4.54 kg), and the scouring pad is changed every 10,000                    Example 1        100,000       Minimal degradation of coating
  strokes. The number of cycles that are required to scrape the
   coating down to bare metal is recorded in order to gauge the       30     What is claimed is:
   abrasion resistance of the non-stick system.                              1. A non-stick coating formed on a substrate comprising
  Scotch Brite Egg Release Test                                            a primer composition and a topcoat composition, wherein
     The Scotch-Brite Egg Release Test is run in conjunction              said primer composition is between said topcoat composi-
  with the Scotch-Brite Abrasion Test. Every 10,000 strokes               tion and said substrate, said primer composition comprising
   an egg is fried on the "wear track" created by the scouring        35 at least one heat resistant adhesion promoter, said topcoat
  pad to measure the extended food release properties of the              composition comprising at least one fluorocarbon resin and
  non-stick system. Many non-stick coatings show very good                at least one heat resistant adhesion promoter, other than a
  release when the cookware is new, but over a few years of               fiuoropolymer that may be the same or different than the
  moderate use the release properties diminish very rapidly.              adhesion promoter of said primer composition, there being
     The number of cycles that a coating can endure before the        40 inorganic inert particles with an average particle size of at
  egg sticks to the wear track is recorded to determine the true          least about 10 micrometers contained in said primer
. quality of a given non-stick system.                                    composition, said primer composition is substantially free of
  Hand Held Tiger Paw Test                                                fluorocarbon resin.
     The hand held "TIger Paw" device is an industry-accepted                2. The coating of claim 1 wherein said fluorocarbon resin
  standard, which was designed to test the resistance of a            45 comprises one or a mixture of fluorocarbons selected from
  non-stick coating to long-term kitchen abuse. The Hand                  the group consisting of polytetrafluoroethylene,
  Held TIger Paw consists of a weighted apparatus, which uses             tetrafluoroethylene, hexafluoropropylene, perfluoropropy-
  3 "ball point" pens to scratch the coating film. The cookware           lvinyl ether, perfiuoroalkyl vinyl ether, pertluoroalkyl vinyl
  which is being tested is filled with a thin layer.of cooking oil,       ethylene and co-polymers tetrafluoroethylene-
  and heated to 4000 Fahrenheit (205 0 Celsius.)                      50 hexafiuoropropylene, tetratluoroethyleneperfluoroalkyl
     The Tiger Paw is rotated over the non-stick surface in a             vinyl ether and ethylene-tetrafluoroethylene.
  circular fashion 2000 times, changing direction every 100                  3. The coating of claim 1 wherein said heat resistant
  rotations. The coating is then examined for any fraying,                adhesion promoter in said primer composition, or in said
  blistering, or penetration to bare metal.                               topcoat composition, or both, is selected from the group
     The invention will be elucidated with reference to the           55 consisting of polyamideimide resins, polyethersulfone res-
  following examples. These are intended to illustrate the                ins and polyphenylene sulfide resins, or combinations
  invention but are not to be construed as limiting in any                thereof.
  manner the scope thereof.                                                  4. The coating of claim 3 wherein said heat resistant
  Control 1                                                               adhesion promoter in said primer composition, or in said
     A primer comprised of 6.80 wt % polyamide-imide                  60 topcoat composition, or both, comprises polyamideimide
  (Todon@ Al 10 from Solvay) and 9.28 wt % PTFE                           resin.
  (polytetrafluoroethylene dispersion, Fluon@ GP-1 from                      S. The coating of claim 1 wherein said topcoat composi-
  Asahi Glass) and a topcoat comprised of 59.54 wt % PTFE                 tion comprises from about 1 wt. % to about 20 wI. %
  Dispersion (poly:flon@ 0-46) and 10 4.17 wt % Dyneon™                  'adhesion promoter, the wt. % being calculated on basis of
.PF A 6900N Dispersion was applied to an non-gritblast hard           65 the solid content of said topcoat composition.
  anodized aluminum substrate in the form of a frying pan                    6. The topcoat composition of claim 5 comprising 55-70
  such that dry film thickness of. 0.5 mil primer and 0.5 mil            wt. % of a fluorocarbon resin dispersion, 3-10 wt. % of a
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 fluorocarbon resin that is flowable at a temperature above         zirconia, silicon carbide, titanium carbide, aluminum boride,
 about 300' C. and about 5-15 Wt. % of an acrylic resin, the        and cristobalite.
 wt. % being calculated on the basis of the solid content of           17. The coating of claim 1 wherein said substrate com-
said coating.                                                       prises aluminum or aluminum shaped articles.
    7. The coating of claim 1 wherein said topcoat composi-       5    18. Amethod of applying a coating to a substrate com-
 tion comprises at least about 5 WI. % of a fluorocarbon resin      prising the sequential steps of:
 that is flowable at a temperature above 300' C.
                                                                           a. Preparing the surface of said substrate for said coating;
    8. The coating of claim 1 wherein the topcoat composition
comprises 55-70 wt. % of a heat stable fluorocarbon resin                  b. Applying a primer composition substantially free of
dispersion, 3-10 wt. % of a fluorocarbon resin that is            10          fluorocarbon resin comprising at least one heat resistant
flowable at a temperature above about 300' C. and 5-15 wt.                    adhesion promoter and Inorganic inert particles with an
% of an acrylic resin, the wt. %, being calculated on the basis               average particle size of at least about 10 micrometers;
of the solid content of said topcoat composition.                         c. Applying a topcoat composition comprising at least one
    9. The coating of claim 1 wherein said topcoat composi-                   fluorocarbon resin and at least one heat resistant adhe-
 tion comprises one or more of components selected from the       15          sion promoter otber tban a fluoropolymer that may be
group comprising an acrylic resin, butyl carbitol,                            the same or different than the adhesion promoter of said
triethanolamine, oleic acid, a hydrocarbon and a cerium                       primer composition; and
based catalyst.                                                           d. Baking the coated substrate at a temperature from about
    10. The coating of claim 1 comprising an overcoat com-                    3800 C. to about 440 0 C.
position over said topcoat composition.                           20      19. The method of claim 18 wherein said fluorocarbon
    11. The coating of claim 10 wherein said overcoat com-             resin is applied as a dispersion of said resin in water with a
position comprises at least one fluorocarbon resin.                    surfactant.
    12. The coating of claim 10 wherein said overcoat com-                20. The method of claim 18 wberein said fluorocarbon
position comprises at least one fluorocarbon resin that is             resin is applied as a polymer powder witb an organic liquid.
flowable at a temperature above about 300' C.                     25      21. The method of claim 18 wherein said primer compo-
    13. The coating of claim 10 wberein said overcoat com-             sition comprises from about 10 wt. % to about 60 wt. % of
position is essentially free of pigments or fillers.                   said adhesion promoter, from about 10 WI. % to about 60 WI.
    14. The coating of claim 1 wherein said inorganic inert            % of said inorganic inert particles and from about 10 WI. %
particles are selected from the group consisting of ceramics,          to about 60 WI. % of other ingredients selected from tbe
inorganic oxides, carbides or nitrides of elements in groups      30   group consisting of fillers, pigments, surfactants, solvents,
IIA-VB of the periodic table, natural minerals and mixtures            defoamers and mixtures thereof, the wt. % being calculated
thereof.                                                               on basis of tbe solid content of said primer composition.
    15. The coating of claim 14 wberein said inorganic inert              22. The method of claim 21 wherein said filters are
particles have an average particle size from about 10 to               selected from the group consisting of barium sulfate, cal-
about 80 microns and a Mohs hardness of at least about 5.         35   clum sulfate, calcium carbonate, silicas and silicates.
    16. The coating of claim 15 wberein said inorganic inert
particles are selected from the group consisting of alumina,
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(12)   United States Patent                                                 (10)   Patent No.:    .. US 6,921,787 B2
       Bate                                                                 (45)   Date of Patent:        JuI. 26, 2005


(54)   NON-STICK COATING AND METHOD OF                                  (56)                     References Cited
       FORMING SAME
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(73)   Assignee: Akzo Nobel Non-Stick Coatings, D.es                          5,985,454   A •    11/1999   McMordie el al             428/413
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                    patent is extended or adjusted under 35
                                                                                            OTHER PUBLICATIONS
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(21)   Appl. No.: 10/727,791                                            US03/38212.
(22)   Filed:       Dec. 3, 2003                                        * cited by examiner
(65)               Prior Publication Data                               Primary Examiner--David W. Wu
       us 2004/0167263 A1 Aug. 26, 2004                                 Assistant Examiner-Henry S. Hu
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                Related U.S. Application Data                           Lione
(60)   Provisional application No. 60/430,455, filed on Dec. 3,         (57)                       ABSTRACT
       2002, and provisional application No. 60/470;227, ffied on
       May 13, 2003.                                                    Non-stick coatings for use on a flexible substrate include a
(51)   Int. CI.7                               C08L 1/00                fluoropolymer, an acrylic polymer, and a polyol andlor dial.
(52)   U.S. CI                 524/386; 524/379; 524/502;               The ratio of acrylic polymer to polyol andlor dial is between
              524/544; 428/323; 428/422; 428/325; 442/59;               about 90:10 and about 10:90 by weight, preferably about
                                                   526/89               50:50. The ratio of acrylic polymer and polyol or dial to
(58)   Field of Search                      524/386,379,                fluoropolymer is preferably about 100:60 by weight.
                 524/502, 544; 526/89; 428/323, 422, 325,
                                              442; 442/59                                    6 Claims, No Drawings
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                                                      US 6,921,787 B2
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     NON-STICK COATING AND METHOD OF                                                         BRIEF SUMMARY
              FORMING SAME                                                A non-stick coating formulation is provided. The coating
                                                                       formulation comprises an acrylic polymer, a polyol or a diol,
    This application claims priority to Provisional Applica-           and a fluoropolymer. The ratio of acrylic polymer to polyol
tion Nos. 60/430,455 filed Dec. 3,2002 and 60/470,227 filed        5 is between about 90:10 and about 10:90 by weight.
May 13, 2003.                                                                           DETAILED DESCRIPTION
         BACKGROUND OF THE INVENTION                                      The non-stick coating of the present invention may be
                                                                       used to coat a substrate of any desired hardness. The type of
  It is sometimes desirable to coat a flexible surface with a      10 substrate to which the coating is applied does not limit the
non-stick coating. Traditional coatings that are used on rigid         scope of the invention. The coating of the present invention
surfaces (e.g. cookware) are unacceptable because they are             may be used on rigid surfaces (e.g., cookware), though it is
unable to bend and flex along with the flexible surface. A             preferably used to coat a flexible surface. A "flexible sur-
specific application in which this problem has arisen con-             face" is any surface that deforms, bends, flexes, or changes
cerns pressure rollers for printing machines.                          shape when subjected to an external force or pressure. [n one
                                                                   lS embodiment, the non-stick coating of the present invention
   Modem printing machines generally contain a heated                  is used to coat a soft rubber pressure roller for use in a
fuser roller and an opposing pressure roller. As paper is fed          printing machine, such as a high-speed digital copier or
between the rollers, the heated fuser roller melts (i.e., fuses)       printer. Non-limiting examples of the soft rubbers that may
toner onto the paper to form the desired image. The pressure           be coated with the non-stick coating of the present invention
roller applies sufficient pressure to the paper to allow it to     20 are silicone rubber, EPDM rubber (ethylene propylene diene
touch the fuser roller and have the image applied to it. The           rubber), and neoprene.
pressure roller typically consists of a steel or aluminum core            The non-stick coatings of the present invention may be
that is coated with some type of rubber. The rubber on the             applied to a substrate in a one-coat process or a multi-coat
pressure roller is flexible so that it can bend and adapt to the       process. An example of a multi-coat process is a two-coat
topographical features of the fuser roller and paper. The          2S process consisting of a primer coat and a top coat. The
higher the quality of the image desired, and the faster the            two-coat process results in a coating that is more durable and
printing rate of the printer or copier, the softer the rubber on       has better release properties than the one-coat process,
the pressure roller must be so that the ink does not smudge            however, it may be more expensive.
when it melts. The rubber in modem high quality, high speed
printers is commonly a very low durometer silicone rubber.                The non-stick coatings of the present invention contain an
                                                                   30 acrylic polymer and a diol or a polyol, or mixtures thereof.
In some copiers, a single roller is capable of acting as the
fuser roller, the pressure roller, or both. In addition, some          The ratio of acrylic polymer to diol or polyol is preferably
printers apply silicone oil to the roller in order to aid the          between 90:10 and 10:90 by weight. Generally, the greater
release of toner.                                                      the ratio of acrylic polymer to diol or polyol, the stronger but
                                                                       less fleXIble the resultant coating will be. The preferred ratio
   It is desirable to apply a non-stick coating to the pressure    35 of acrylic polymer to diol or polyol therefore depends on the
rollers to protect the soft rubber from chemical and thermal           durometer of the substrate being coated and the desired
degradations, as well as to prevent the paper and ink from             strength of the coating. For example, a ratio of acrylic
sticking to the roller. Applying a non-stick coating to such           polymer to dial or polyol of 15:85 orlower is appropriate for
soft rubber, however, presents a number of problems. First,            a substrate having a durometer less than 10. (Unless other-
it is difficult for conventional non-stick coatings to stick to        wise stated, all references to durometer are based on the
this very soft silicone rubber because the non-stick coating       40 Shore A scale). For a substrate having a durometer greater
must be able to bend and flex with the silicone rubber that            than 10, a 50:50 or greater ratio may be used.
it coats. If the non-stick coating is not sufficiently flexible,          Useful acrylic polymers include polymers and copoly-
it will crack and/or peel away from the pressure roller during         mers of esters of acrylic acid and methacrylic acid, such as
use. This decreases the print quality of the resultant image.          methyl acrylate, methyl methacrylate, ethyl acrylate, ethyl
Second, conventional fluoropolymer coatings are rel:j.tively       4S methacrylate, propyl acrylate, propyl methacrylate, butyl
hard when compared to the soft silicone rubbers used on                acrylate, butyl methacrylate, and similar monomers. The
pressure rollers. As a result, the non-stick coatings increase         preferred acrylic polymer is hydroxy-functional. Preferred
the effective durometer of the pressure roller and decrease            acrylic polymers are commercially available as an emulsion
the conformability of the roller. This is counterproductive to         from S.C. Johnson & Son under the tradename JONCRYL
the goal of a very soft pressure roller that produces a high       50 1540 or as a colloidal dispersion from Noveon Inc. under the
quality image. Lastly, in those situations where silicone oil          tradename CARBOSET 514H. One or more different acrylic
is used, the silicone oil can attack the silicone rubber and           polymers may be combined for use in the coating formula-
cause it to swell. Swelling of the silicone rubber is unde-            tions of the present invention. For example, a blend of
sirable because it compromises the quality of the image and            JONCRYL 1540 and CARBOSET 514H may be used. Such
the life of the roller.                                            5S blends are useful to optimize particular characteristics of the
   Prior attempts at a non-stick coating for a pressure roller         coating, such as gloss and chemical resistance.
include the application of a fluoropolymer sleeve over the                The coatings of the present invention include a diol, a
roller surface. Problems with prior art fluoropolymer                  polyol, or mixtures thereof. As used herein, a dial is any
sleeves, however, include an unacceptable increase in the              alcohol that contains two hydroxyl groups per molecule and
effective durometer of the pressure roller and a high rate of          a poIyol is any alcohol that contains three or more hydroxyl
delaminating due to shear stresses between the fluoropoly-         60 groups per molecule. Useful diols include urethanes,
mer sleeve and the rubber roller. When a sleeve wears out              polyesters, acrylics or hybrid acrylic urethanes. A preferred
(i.e., delaminates), it peels away from the pressure roller and        diol is a polyester diol commercially available from King
becomes wrinkled. The wrinkled pressure roller creates very           IIndustries under the trade name K-FLEX XM 7304. Useful
poor quality images and milst be replaced at great expense.          ! polyols include urethanes, polyesters, acrylics or hybrid

For this reason, there is a need for non-stick coating that can    65 acrylic urethanes. A preferred polyol is a polyurethane
be used on a flexible surface, yet is durable, functional, and         polyol commercially available from King Industries under
low-cost.                                                              the trade name K-FLEX XM 6304.
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    Preferably, a melamine is used to cross-link the acrylic          2.5% by weight of the total non-stick coating formulation.
polymer with the diol or polyol. A preferred melamine is a            For a multi-coat system, the preferred silane is commercially
methylated melamine formaldehyde resin and is commer-                 available from Shin-Etsu Chemical Co. under the tradename
cially available from Cytec Industries under the trade names          X33-156-5.Alternatively, a one-coat formulation containing
CYMEL 325 or CYMEL 303. Another preferred methylated             5    a silane may be applied as the primer (or other layer) in a
melamine, hexamethoxymethyl melamine, is commercially                 multi-coat system.
available from UCB Inc. under the tradename RESIMENE                     The coating system of the present invention may include
745. Desirably, the cross-linking is catalyzed with a blocked         an additive to aid release. The preferred release additive is
acid catalyst. A preferred catalyst is a strong acid catalyst,        a polyether modified dimethylpolysiloxane copolymer in a
para-toluene sulfonic acid (P-TSA), commercially available       10   butylglycol solvent that is commercially available from
from King Industries under the tradename K-CURE 1040W.                BYK-Chemie GmbH under the tradename BYK-301.
    The non-stick coating of the present invention also                  The .coating system of the present invention may include
includes a fiuoropolymer. The fiuoropolymer is responsible            a dispersant. The preferred dispersant is an acetylene diol
for the non-stick quality of the coating. There are myriad            dispersant that is commercially available from Air Products
commercially available fluoropolymers and the specific                and Chemicals, Inc. under the tradenames SURFYNOL CT
fiuoropolymer chosen does not limit the scope of the present     15   324 or SURFYNOL 104BC.
invention. The fiuoropolymer component of the present                    Following is a specific example of a one-coat formulation.
invention may include a single type of fiuoropolymer, or              The composition comprises 29.9% acrylic emulsion (43% in
may include a mixture or blend of more than one type of               water), 2.7% PTFE micropowder, 8.3% propylene glycol,
fiuoropolymer. The ratio of acrylic polymer and polyol or             2.7% alkyl phenol polyethelyeneoxide, 13.2% polyester diol
diol to fiuoropolymer (i.e., (acrylic polymer+polyoIJdiol)       20   (30% emulsion in water), 0.3% blocked acid catalyst, 0.9%
:fiuoropolymer) is preferably about 100:60 in the formula-            silane, 0.5% acetylene diol dispersant, and 9.3% methylated
tion for a one-coat system and between about 90:10 and                melamine formaldehyde resin. The balance of the formula-
about 70:30 for a formulation intended to be applied as an            tion is water and additives. Each additive comprises less
intermediate coat. Depending on the particular application,           than 2% of the composition. The additives include well
it is desirable for the ratio of acrylic polymer and polyol or   25   known defoamers, flow agents, dispersants, surfactants,
diol to fiuoropolymer in the top coat to be between about             stabilizers, thickeners and/or fillers.
70:30 and about 30:70. A roller that is to be used in a copier           The one-coat formulation is filtered through a mesh filter
that does not use silicone oil preferably includes a top coat         rated at 53 microns and sprayed onto the substrate by
having a ratio of acrylic polymer and polyol or diol to               conventional or high volume, low pressure (HVLP) meth-
fiuoropolymer of about 30:70.                                    30   ods. The thickness of the dry coat is from about 20 to about
    Exemplary fiuoropolymers are tetrafiuoroethylene-                 30 microns.
perfluoromethyl vinyl ether copolymer (MFA),                             The coating is cured for about ten minutes in a conven-
tetrafluoroethylene-hexafiuoropropylene copolymer (PEP),              tional oven operating at approximate 450° F. The silicone
and polytetrafiuoroethylene (PTFE). PEP is a preferred                rubber that is commonly used to coat pressure rollers begins
fiuoropolymer. The preferred PEP is commercially available            to thermally decompose at about 500-550° F. Thus, it is
as a water-based latex dispersion comniercially available        35   desirable to cure the coating in such a manner that the
from Dyneon LLC and sold under the trade name DYNEON                  temperature of the silicone rubber stays below 500° F.
PEP X 6300. PTFE is another preferred fiuoropolymer. The                 As noted above, the non-stick coating of the present
preferred PTFE is commercially available as a micropowder             invention can be applied in a two-coat process. The first coat
from Asahi Chemical and sold under the trade name WIT-                is a primer that helps bond a subsequent layer which
CONTL-l0.                                                        40   contains a fiuoropolymer to the substrate. Any primer that
    Non-limiting examples of other acceptable fiuoropoly-             effectively bonds to the chosen substrate is acceptable.
mers are polychloro-trifiuoroethylene (PCTFE), ethylene-              Where the substrate consists of silicone rubber or other
chlorotrifiuoroethylene copolymer (ECTFE), ethylene-                  rubber having a hydroxy. functional group (such as EPDM
tetrafiuoroethylene copolymer (ETFE), tetrafiuoroethylene             rubber), the primer is preferably a silane primer as described
(TFE) and perfiuoro (ethyl vinyl ether) (PEVE) copolymer         45   above. The primer component may consist of a single type
(PFA), TFE and perfiuoro (propyl vinyl ether) (PPVE)                  of primer; alternatively, different primers may be mixed or
copolymer (PFA), polyvinylfiuoride (PVF), and polyvi-                 combined to form the primer. The primer is preferably
nylidene fiuoride (PYDF). The fiuoropolymer component                 applied as a very thin layer having a thickness of between
may also include comonomer modifiers that improve                     one molecule to a few microns. The primer may be applied
selected characteristics.                                        50   by wiping it on the substrate with a cloth or by conventional
    The fluoropolymer may be a micropowder. Alternatively,            or HVLP spray guns. The applied primer is typically very
the fiuoropolymer may be provided in the form of a disper-            volatile and may be dried by any desirable means, though it
sion of fiuoropolymer in water. By "dispersion" it is meant           is preferably dried in a conventional oven at 150° F. for
that the fiuoropolymer particles are stably dispersed in water        about 3-5 minutes or at air temperature (_77° F.) for about
so that the particles do not settle before the dispersion is     55   fifteen minutes.
used. In some cases it may be desirable to include an organic            A first embodiment of a top coat composition comprises
solvent, such as n-methylpyrrolidone, butyrolactone, high             23.0% acrylic polymer emulsion (43% in water), 13.1%
boiling aromatic solvents, alcohols, or mixtures thereof.             PTFE micropowder, 6.5% propylene glycol, 2.1 % alkyl
   The coating system of the present invention may include            phenol polyethelyeneoxide, 10.2% polyurethane diol (30%
a silane. The silane may be included as an ingredient in a            emulsion in water), 1% silane, 0.5% acetylene diol
formulation for a one-coat system or applied as the first coat   60   dispersant, and 0.3% blocked acid catalyst. The balance of
in a multi-coat system. Preferred silanes include                     the formulation is water and additives. Each additive com-
vinyltrimethoxysilane,                              gamma-            prises less than 2% of the composition. The additives
methacycloxypropyltrimethoxy silane, vinyltris                        iI/clude well known defoamers, flow agents, dispersants,
(t-butylperoxy) silane and partially hydrolyzed silanes. The          s,urfactants, stabilizers, thickeners and/or fillers. This com-
preferred silane for use in a one coat formulation is com-       65   position has a ratio of acrylic polymer to diol of about 85: 15
mercially available from Dowcon under the tradename                   and a ratio of acrylic polymer and polyol to fiuoropolymer
Z-6020. The silane preferably comprises between 1.0 and               of about 70:30.
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    A second embodiment of a top coat composition com-                fiuoropolymer. The preferred top coat composition com-
prises approximately 7% acrylic polymer emulsion, 22%                 prises approximately 4.1% acrylic polymer emulsion, 12.3%
polyurethane polyol, 7.1% methylated melamine formalde-               polyurethane polyol, 3.8% polypropylene glycol, 3.9%
hyde resin, 17.8% PEP dispersion, 0.3% blocked acid                   methylated melamine formaldehyde resin, 53.9% FEP
catalyst, 6.7% propylene glycol, and 5% of a polyether              5 dispersion, and 5.7% of a release additive, such as a poly-
 modified dimethylpolysiloxane copolymer release agent.               ether modified dimethylpolysiloxane copolymer. The com-
The balance of the formulation is water and additives. Each           position has a ratio of acrylic polymer to diol of about 85: 15
additive comprises less than 2% of the composition. The               and a ratio of acrylic polymer and polyol to fiuoropolymer
 additives include well known defoamers, flow agents,                 of about 30:70.
dispersants, surfactants, stabilizers, thickeners and/or fillers.   10
This composition has a ratio of acrylic to polyol of about                  The three-coat system described above is cured at about
85:15 and a ratio of acrylic polymer and polyol to fluo-                 550 0 F. for about 10 minutes. It is desirable to cure the
ropolymer of about 70:30. This embodiment of a top coat is               system at a sufficient temperature, and for a sufficient time,
particularly useful where the coated roller may come in                  to melt the fiuoropolymer into a continuous network.
contact with silicone oil.                                                 Any of the coatings described herein can be made to be
                                                                    15 conductive. In high-speed copiers it is very easy for a large
    The preferred thickness of the top coat varies according to
the hardness of the substrate. If the durometer of the                 static charge to build up in the paper and to compromise
substrate is less than 10, the thickness of the top coat is            image quality. For this reason, it may be desirable to have a
preferably less than 5 microns. If the durometer of the                conductive coating that dissipates the static charge. The
substrate is between 10 and 20, the thickness of the top coat          coatings discussed above may be made conductive by the
is preferably less than 7 microns. If the durometer of the          20 addition of an electrically conductive pigment such as
substrate is greater than 20, the thickness of the top coat is         KETJEN BLACK, which is commercially available from
preferably greater than 10 microns, most preferably about              Akw-Nobel Coating Inc.
20-30 microns. The top coat is sprayed directly on top of the             Specific one-coat and two-coat embodiments are provided
dried primer and the article is cured in a conventional oven           above, however, the number of coats employed does not
at about 400 0 F. for about 10 minutes. If the coating is to be     25 limit the scope of the present invention. Non-slick coatings
used in a copier that uses silicone oil, it is desirable to cure       of the present invention may also consist of three or more
                                                        0
the coating at a lower temperature, e.g., about 350 F. The             coats. For example, it may be desirable to use two different
lower temperature is preferred in order to avoid the forma-            primers or it may be desirable to add one or more interme-
tion of a completely melted, continuous network of fiuo-               diate coats.
ropolymer. A discontinuous network of fiuoropolymer is              30
preferred because it creates interstices that absorb silicone             While particular embodiments of the present invention
oil and aid efficient operation of the copier.                         have been illustrated and described above, the present inven-
                                                                       tion should not be limited to such examples and descriptions.
   In another embodiment, the non-stick coating of the
                                                                       It should be apparent that changes and modifications may be
present invention can be applied in a three-step process. The
                                                                       incorporated and embodied as part of the present invention
first coat is a primer that helps bond a subsequent layer           35
                                                                       within the scope of the following claims.
which contains a fluoropolymer to the substrate. Any primer
that effectively bonds to the chosen substrate is acceptable.             What is claimed is:
Where the substrate consists of silicone rubber or other                  1. A non-stick coating formulation comprising:
rubber having a hydroxy functional group (!\uch as EPDM                     a. an acrylic polymer,
rubber), the primer is preferably a silane primer as described
above. The primer component may consist of a single type            40
                                                                            b. an alcohol selected from the group consisting of a
of primer; alternatively, different primers may be mixed or                    polyurethane polyol, a polyester dial, and mixtures
combined to form the primer. The primer is preferably                          thereof, and
applied as a very thin layer having a thickness of between                  c. a fiuoropolymer; wherein the ratio of acrylic polymer to
one molecule to a few microns. The primer may be applied                       the alcohol is between about 90:10 and about 10:90 by
by wiping it on the substrate with a cloth or by conventional       45         weight.
or HVLP spray guns. The applied primer is typically very                    2. The non-stick coating formulation of claim 1, wherein
volatile and may be dried by any desirable means, though it              the alcohol is a polyester dial.
                                                        0
is preferably dried in a conventional oven at 150 F. for                    3. The non-stick coating formulation of claim 1, wherein
about 3-5 minutes or at air temperature (_77 0 F.) for about             the alcohol is a polyurethane polyol.
fifteen minutes.                                                    50      4. A non-stick coating formulation comprising:
   The first embodiment of a top coat described above with                  a. an acrylic polymer,
respect to the two-coat process is an acceptable mid-coat for               b. an alcohol selected from the group consisting of a dial,
the three-coat process. Another embodiment of a mid-coat                       a polyol, and mixtures thereof,
composition comprises approximately 7% acrylic polymer
emulsion, 22% polyurethane polyol, 7.1% methylated                  55      c. a fiuoropolymer, and
melamine formaldehyde resin, 17.8% FEP dispersion, 0.5%                     d. a polyether modified dimethylpolysiloxane copolymer
acetylene dial dispersant, 0.3% blocked acid catalyst, and                     wherein the ratio of acrylic polymer to the alcohol is
6.7% propylene glycol. The balance of the formulation is                       between about 90:10 and about 10:90 by weight.
water and additives. Each additive comprises less than 2%                   5. The non-stick coating formulation of claim 4, wherein
of the composition. The additives include well known                60   the ratio of acrylic polymer to the alcohol is about 70:30 by
defoamers, flow agents, dispersants, surfactants, stabilizers,           weight.
thickeners and/or fillers. This composition has a ratio of                  6. The non-stick coating formulation of claim 4, wherein
acrylic to polyol of about 85:15 and a ratio of acrylic and              the ratio of acrylic polymer to the alcohol is about 30:70 by
polyol to fiuoropolymer of about 70:30.                                  Wright.
   A preferred top coat for the three-coat proceSs further
includes a ,release additive and a higher percentage of                                         * * * * *
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 United States Patent                                                                                                                                                   7,375,152
 Bate                                                                                                                                                                May 20, 2008

Non-stick coating and method of fanning same

                                                                                  Abstract

Non-stick coatings for use on a flexible substrate include a fluoropolymer, an acrylic polymer, and a
polyol and/or diol. The ratio of acrylic polymer to polyol and/or diol is between about 90: 10 and about
10:90 by weight, preferably about 50:50. The ratio of acrylic polymer and polyol or diol to
fluoropolymer is preferably about 100:60 by weight.


 Inventors:           Bate; Thomas J. (Glenview, IL)
 Assignee:            Akzo Nobel Non-Stick Coatings (Des Plaines, IL)
 Appl. No.:           11/153,289
 Filed:               June 15, 2005
                                               ------_..•._-- .._-.- _-_. __ _._--_._--_._--_ _.- _•. _ _ __..
                                                                Related U.S. Patent Documents

                        Application Number                                      Filing Date                         Patent Number                                    Issue Date
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                             60430455                                           Dec., 2002
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 Current U.S. Class:                                                               524/386 ; 428/323; 428/325; 428/422; 442/59; 524/379;
                                                                                                                524/502; 524/544; 526/89
 Current International Class:                                                                                     C08L 1/00 (20060101)
 Field of Search:                                                                   524/386,379,502,544 526/89428/323,422,325 442/59
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Primary Examiner: Mulcahy; Peter D.
Assistant Examiner: Hu; Henry
Attorney, Agent or Firm: Brinks Hofer Gilson & Lione

                                            Parent Case Text



CROSS-REFERENCE TO RELATED PATENTS

This is a divisional of application Ser. No. 101727,791, filed Dec. 3,2003, now U.S. Pat. No. 6,921,787,
which is a continuing application of Ser. Nos. 60/430,455 filed Dec. 3, 2002 and 60/470,227 filed May
13,2003.

                                                  Claims



The invention claimed is:

1. A non-stick coating formulation comprising: a. an acrylic polymer, b. an alcohol selected from the
group consisting of a diol, a polyol, and mixtures thereof, and c. a fluoropolymer, and d. a cross-linking .
agent for cross-linking the acrylic polymer with the alcohol; wherein the alcohol comprises a
polyurethane polyol.

2. A non-stick coating formulation comprising: a. an acrylic polymer, b. an alcohol selected from the
group consisting of a diol, a polyol, and mixtures thereof, and c. a fluoropolymer, d. a cross-linking
agent for cross-linking the acrylic polymer with the 'llcohol, and e. a polyether modified
dimethylpolysiloxane copolymer.                         '




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3. A non-stick coating fonnulation comprising: a. an acrylic polymer, b. an alcohol selected from the
group consisting of a diol, a polyol, and mixtures thereof, and c. a fluoropolymer, and d. a cross-linking
agent for cross-linking the acrylic polymer with the alcohol, and e. a blocked acid catalyst.
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                                                Description
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BACKGROUND OF THE INVENTION

It is sometimes desirable to coat a flexible surface with a non-stick coating. Traditional coatings that are
used on rigid surfaces (e.g. cookware) are unacceptable because they are unable to bend and flex along
with the flexible surface. A specific application in which this problem has arisen concerns pressUre
rollers for printing machines.

Modem printing machines generally contain a heated fuser roller and an opposing pressure roller. As
paper is fed between the rollers, the heated fuser roller melts (Le., fuses) toner onto the paper to fonn the
desired image. The pressure roller applies sufficient pressure to the paper to allow it to touch the fuser
roller and have the image applied to it. The pressure roller typically consists of a steel or aluminum core
that is coated with some type of rubber. The rubber on the pressure roller is flexible so that it can bend
and adapt to the topographical features of the fuser roller and paper. The higher the quality of the image
desired, and the faster the printing rate of the printer or copier, the softer the rubber on the pressure
roller must be so that the ink does not smudge when it melts. The rubber in modem high quality, high
speed printers is commonly a very low durometer silicone rubber. In some copiers, a single roller is
capable of acting as the fuser roller, the pressure roller, or both. In addition, some printers apply silicone
oil to the roller in order to aid the release of toner.

It is desirable to apply a non-stick coating to the pressure rollers to protect the soft rubber from chemical
and thennal degradations, as well as to prevent the paper and ink from sticking to the roller. Applying a
non-stick coating to such soft rubber, however, presents a number of problems. First, it is difficult for
conventional non-stick coatings to stick to this very soft silicone rubber because the non-stick coating
must be able to bend and flex with the silicone rubber that it coats. If the non-stick coating is not
sufficiently flexible, it will crack and/or peel away from the pressure roller during use. This decreases
the print quality of the resultant image. Second, conventional fluoropolymer coatings are relatively hard
when compared to the soft silicone rubbers used on pressure rollers. As a result, the non-stick coatings
increase the effective durometer of the pressure roller and decrease the conformability of the roller. This
is counterproductive to the goal of a very soft pressure roller that produces a high quality image. Lastly,
in those situations where silicone oil is used, the silicone oil can attack the silicone rubber and cause it to
swell. Swelling of the silicone rubber is undesirable because it compromises the quality of the image and
the life of the roller.

Prior attempts at a non-stick coating for a pressure roller include the application of a fluoropolymer
sleeve over the roller surface. Problems with prior art fluoropolymer sleeves, however, include an
unacceptable increase in the effective durometer ofthe pressure roller and a high rate of delaminating
due to shear stresses between the fluoropolymer sleeve and the rubber roller. When a sleeve wears out
(Le., delaminates), it peels away from the pressure roller and becomes wrinkled. The wrinkled pressure
roller creates very poor quality images and must be replaced at great expense. For this reason, there is a
need for non-stick coating that can be used on a flexible surface, yet is durable, functional, and low-cost.
                                                         I




BRIEF SUMMARY



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A non-stick coating formulation is provided. The coating formulation comprises an acrylic polymer, a
polyol or a diol, and a fluoropolymer. The ratio of acrylic polymer to polyol is between about 90: 10 and
about 10:90 by weight.

DETAILED DESCRIPTION

The non-stick coating of the present invention may be used to coat a substrate of any desired hardness.
The type of substrate to which the coating is applied does not limit the scope of the invention. The
coating of the present invention may be used on rigid surfaces (e.g., cookware), though it is preferably
used to coat a flexible surface. A "flexible surface" is any surface that deforms, bends, flexes, or changes
shape when subjected to an external force or pressure. In one embodiment, the non-stick coating of the
present invention is used to coat a soft rubber pressure roller for use in a printing machine, such as a
high-speed digital copier or printer. Non-limiting examples of the soft rubbers that may be coated with
the non-stick coating of the present invention are silicone rubber, EPDM rubber (ethylene propylene
diene rubber), and neoprene.

The non-stick coatings of the present invention may be applied to a substrate in a one-coat process or a
multi-coat process. An example of a multi-coat process is a two-coat process consisting of a primer coat
and a top coat. The two-coat process results in a coating that is more durable and has better release
properties than the one-coat process, however, it may be more expensive.

The non-stick coatings of the present invention contain an acrylic polymer and a diol or a polyol, or
mixtures thereof. The ratio of acrylic polymer to diol or polyol is preferably between 90: 10 and 10:90 by
weight. Generally, the greater the ratio of acrylic polymer to diol or polyol, the stronger but less flexible
the resultant coating will be. The preferred ratio of acrylic polymer to diol or polyol therefore depends
on the durometer of the substrate being coated and the desired strength of the coating. For example, a
ratio of acrylic polymer to diol or polyol of 15:85 or lower is appropriate for a substrate having a
durometer less than 10. (Unless otherwise stated, all references to durometer are based on the Shore A
scale). For a substrate having a durometer greater than 10, a 50:50 or greater ratio may be used.

Useful acrylic polymers include polymers and copolymers of esters of acrylic acid and methacrylic acid,
such as methyl acrylate, methyl methacrylate, ethyl acrylate, ethyl methacrylate, propyl acrylate, propyl
methacrylate, butyl acrylate, butyl methacrylate, and similar monomers. The preferred acrylic polymer is
hydroxy-functional. Preferred acrylic polymers are commercially available as an emulsion from S.C.
Johnson & Son under the tradename JONCRYL 1540 or as a colloidal dispersion from Noveon Inc.
under the tradename CARBOSET 514H. One or more differen~ acrylic polymers may be combined for
use in the coating formulations of the present invention. For example, a blend of JONCRYL 1540 and
CARBOSET 514H may be used. Such blends are useful to optimize particular characteristics of the
coating, such as gloss and chemical resistance.

The coatings of the present invention include a diol, a polyol, or mixtures thereof. As used herein, a diol
is any alcohol that contains two hydroxyl groups per molecule and a polyol is any alcohol that contains
three or more hydroxyl groups per molecule. Useful diols include urethanes, polyesters, acrylics or
hybrid acrylic urethanes. A preferred diol is a polyester diol commercially available from King
Industries under the trade name K-FLEX XM 7304. Useful polyols include urethanes, polyesters,
acrylics or hybrid acrylic urethanes. A preferred polyol is a polyurethane polyol commercially available
from King Industries under the trade name K-FLEX XM 6304.
                                                       I I;


Preferably, a melamine is used to cross-link the acryli'c polymer with the diol or polyol. A preferred
melamine is a methylated melamine formaldehyde resin and is commercially available from Cytec



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Industries under the tradenames CYMEL 325 or CYMEL 303. Another preferred methylated melamine,
hexamethoxymethyl melamine, is commercially available from DCB Inc. under the tradename
RESIMENE 745. Desirably, the cross-linking is catalyzed with a blocked acid catalyst. A preferred
catalyst is a strong acid catalyst, para-toluene sulfonic acid (P-TSA), commercially available from King
Industries under the tradename K-CURE 1040W.

The non-stick coating of the present invention also includes a fluoropolymer. The fluoropolymer is
responsible for the non-stick quality of the coating. There are myriad commercially available
fluoropolymers and the specific fluoropolymer chosen does not limit the scope of the present invention.
The fluoropolymer component of the present invention may include a single type offluoropolymer, or
may include a mixture or blend of more than one type of fluoropolymer. The ratio of acrylic polymer
and polyol or diol to fluoropolymer (i.e., (acrylic polymer+polyol/diol):fluoropolymer) is preferably
about 100:60 in the formulation for a one-coat system and between about 90: 10 and about 70:30 for a
formulation intended to be applied as an intermediate coat. Depending on the particular application, it is
desirable for the ratio of acrylic polymer and polyol or diol to fluoropolymer in the top coat to be
between about 70:30 and about 30:70. A roller that is to be used in a copier that does not use silicone oil
preferably includes a top coat having a ratio of acrylic polymer and polyol or diol to fluoropolymer of
about 30:70.

Exemplary fluoropolymers are tetrafluoroethylene-perfluoromethyl vinyl ether copolymer (MFA),
tetrafluoroethylene-hexafluoropropylene copolymer (FEP), and polytetrafluoroethylene (PTFE). FEP is
a preferred fluoropolymer. The preferred FEP is commercially available as a water-based latex
dispersion commercially available from Dyneon LLC and sold under the trade name DYNEON FEP X
6300. PTFE is another preferred fluoropolymer. The preferred PTFE is commercially available as a
micropowder from Asahi Chemical and sold under the trade name WITCON TL-10.

Non-limiting examples of other acceptable fluoropolymers are polychloro-trifluoroethylene (PCTFE),
ethylene-chlorotrifluoroethylene copolymer (ECTFE), ethylene-tetrafluoroethylene copolymer (ETFE),
tetrafluoroethylene (TFE) and perfluoro (ethyl vinyl ether) (PEVE) copolymer (PFA), TFE and
perfluoro (propyl vinyl ether) (PPVE) copolymer (PFA), polyvinylfluoride (PVF), and polyvinylidene
fluoride (PVDF). The fluoropolymer component may also include comonomer modifiers that improve
selected characteristics.

The fluoropolymer may be a micropowder. Alternatively, the fluoropolymer may be provided in the
form of a dispersion offluoropolymer in water. By "dispersion" it is meant that the fluoropolymer
particles are stably dispersed in water so that the particles do not settle before the dispersion is used. In
some cases it may be desirable to include an organic solvent, such as n-methylpyrrolidone,
butyrolactone, high boiling aromatic solvents, alcohols, or mixtures thereof.

The coating system of the present invention may include a silane. The silane may be included as an
ingredient in a formulation for a one-coat system or applied as the first coat in a multi-coat system.
Preferred silanes include vinyltrimethoxysilane, gamma-methacycloxypropyltrimethoxy silane, vinyltris
(t-butylperoxy) silane and partially hydrolyzed silanes. The preferred silane for use in a one coat
formulation is commercially available from Dowcon under the tradename 2-6020. The silane preferably
comprises between 1.0 and 2.5% by weight of the total non-stick coating formulation. For a multi-coat
system, the preferred silane is commercially available from Shin-Etsu Chemical Co. under the
tradename X33-156-5. Alternatively, a one-coat formulation containing a silane may be applied as the
primer (or other layer) in a multi-coat system.
                                                        f   f.




The coating system of the present invention may include an additive to aid release. The preferred release
additive is a polyether modified dimethylpolysiloxane copolymer in a butylglycol solvent that is



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commercially available from BYK-Chemie GmbH under the tradename BYK-301.

The coating system of the present invention may include a dispersant. The 'preferred dispersant is an
acetylene diol dispersant that is commercially available from Air Products and Chemicals, Inc. under the
tradenames SURFYNOL CT 324 or SURFYNOL 104BC.

Following is a specific example ofa one-coat formulation. The composition comprises 29.9% acrylic
emulsion (43% in water), 2.7% PTFE micropowder, 8.3% propylene glycol, 2.7% alkyl phenol
polyethelyeneoxide, 13.2% polyester diol (30% emulsion in water), 0.3% blocked acid catalyst, 0.9%
silane, 0.5% acetylene diol dispersant, and 9.3% methylated melamine formaldehyde resin. The balance
of the formulation is water and additives. Each additive comprises less than 2% of the composition. The
additives include well known defoamers, flow agents, dispersants, surfactants, stabilizers, thickeners
and/or fillers.

The one-coat formulation is filtered through a mesh filter rated at 53 microns and sprayed onto the
substrate by conventional or high volume, low pressure (HVLP) methods. The thickness of the dry coat
is from about 20 to about 30 microns.

The coating is cured for about ten minutes in a conventional oven operating at approximate 450.degree.
F. The silicone rubber that is commonly used to coat pressure rollers begins to thermally decompose at
about 500-550.degree. F. Thus, it is desirable to cure the coating in such a manner that the temperature
of the silicone rubber stays below 500.degree. F.

As noted above, the non-stick coating of the present invention can be applied in a two-coat process. The
first coat is a primer that helps bond a subsequent layer which contains a fluoropolymer to the substrate.
Any primer that effectively bonds to the chosen substrate is acceptable. Where the substrate consists of
silicone rubber or other rubber having a hydroxy functional group (such as EPDM rubber), the primer is
preferably a silane primer as described above. The primer component may consist of a single type of
primer; alternatively, different primers may be mixed or combined to form the primer. The primer is
preferably applied as a very thin layer having a thickness of between one molecule to a few microns.
The primer may be applied by wiping it on the substrate with a cloth or by conventional or HVLP spray
guns. The applied primer is typically very volatile and may be dried by any desirable means, though it is
preferably dried in a conventional oven at 150.degree. F. for about 3-5 minutes or at air temperature
(about 77.degree. F.) for about fifteen minutes.

A first embodiment ofa top coat composition comprises 23.0% acrylic polymer emulsion (43% in
water), 13.1 % PTFE micropowder, 6.5% propylene glycol, 2.1 % alkyl phenol polyethelyeneoxide,
10.2% polyurethane diol (30% emulsion in water), 1% silane, 0.5% acetylene diol dispersant, and 0.3%
blocked acid catalyst. The balance of the formulation is water and additives. Each additive comprises
less than 2% of the composition. The additives include well known defoamers, flow agents, dispersants,
surfactants, stabilizers, thickeners and/or fillers. This composition has a ratio of acrylic polymer to diol
of about 85:15 and a ratio of acrylic polymer and polyol to fluoropolymer of about 70:30.

A second embodiment of a top coat composition comprises approximately 7% acrylic polymer
emulsion, 22% polyurethane polyol, 7.1 % methylated melamine formaldehyde resin, 17.8% FEP
dispersion, 0.3% blocked acid catalyst, 6.7% propylene glycol, and 5% of a polyether modified
dimethylpolysiloxane copolymer release agent. The balance of the formulation is water and additives.
Each additive comprises less than 2% of the composition. The additives include well known defoamers,
flow agents, dispersants, surfactants, stabilizers, thick~ners and/or fillers. This composition has a ratio of
acrylic to polyol of about 85:15 and a ratio of acrylic polymer and polyol to fluoropolymer of about
70:30. This embodiment of a top coatis particularly useful where the coated rollermay come in contact



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with silicone oil.

The preferred thickness of the top coat varies according to the hardness ofthe substrate. If the durometer
of the substrate is les$ than 10, the thickness of the top coat is preferably less than 5 microns. If the
durometer of the substrate is between 10 and 20, the thickness of the top coat is preferably less than 7
microns. If the durometer of the substrate is greater than 20, the thickness of the top coat is preferably
greater than 10 microns, most preferably about 20-30 microns. The top coat is sprayed directly on top of
the dried primer and the article is cured in a conventional oven at about 400.degree. F. for about 10
minutes. If the coating is to be used in a copier that uses silicone oil, it is desirable to cure the coating at
a lower temperature, e.g., about 350.degree. F. The lower temperature is preferred in order to avoid the
formation of a completely melted, continuous network of fluoropolymer. A discontinuous network of
fluoropolymer is preferred because it creates interstices that absorb silicone oil and aid efficient
operation of the copier.

In another embodiment, the non-stick coating of the present invention can be applied in a three-step
process. The first coat is a primer that helps bond a subsequent layer which contains a fluoropolymer to
the substrate. Any primer that effectively bonds to the chosen substrate is acceptable. Where the
substrate consists of silicone rubber or other rubber having a hydroxy functional group (such as EPDM
rubber), the primer is preferably a silane primer as described above. The primer component may consist
of a single type of primer; alternatively, different primers may be mixed or combined to form the primer.
The primer is preferably applied as a very thin layer having a thickness of between one molecule to a
few microns. The primer may be applied by wiping it on the substrate with a cloth or by conventional or
HVLP spray guns. The applied primer is typically very volatile and may be dried by any desirable
means, though it is preferably dried in a conventional oven at 150.degree. F. for about 3-5 minutes or at
air temperature (about .degree. F.) for about fifteen minutes.

The first embodiment of a top coat described above with respect to the two-coat process is an acceptable
mid-coat for the three-coat process. Another embodiment of a mid-coat composition comprises
approximately 7% acrylic polymer emulsion, 22% polyurethane polyol, 7.1 % methylated melamine
formaldehyde resin, 17.8% FEP dispersion, 0.5% acetylene diol dispersant, 0.3% blocked acid catalyst,
and 6.7% propylene glycol. The balance of the formulation is water and additives. Each additive
comprises less than 2% of the composition. The additives include well known defoamers, flow agents,
dispersants, surfactants, stabilizers, thickeners and/or fillers. This composition has a ratio of acrylic to
polyol of about 85:15 and a ratio of acrylic and polyol to fluoropolymer of about 70:30.

A preferred top coat for the three-coat process further includes a release additive and a higher percentage
offluoropolymer. The preferred top coat composition comprises approximately 4.1 % acrylic polymer
emulsion, 12.3% polyurethane polyol, 3.8% polypropylene glycol, 3.9% methylated melamine
formaldehyde resin, 53.9% FEP dispersion, and 5.7% of a release additive, such as a polyethermodified
dimethylpolysiloxane copolymer. The composition has a ratio of acrylic polymer to diol of about 85:15
and a ratio of acrylic polymer and polyol to fluoropolymer of about 30:70.

The three-coat system described above is cured at about 550.degree. F. for about 10 minutes. It is
desirable to cure the system at a sufficient temperature, and for a sufficient time, to melt the
fluoropolymer into a continuous network.

Any of the coatings described herein can be made. to be conductive. In high-speed copiers it is very easy
for a large static charge to build up in the paper and to compromise image quality. For this reason, it
may be desirable to have a conductive coating that df~,sipates the static charge. The coatings discussed
above may be made conductive by the addition of an electrically conductive pigment such as KETJEN
BLACK, which is commercially available from Akzo-Nobel Coating Inc.



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Specific one-coat and two-coat embodiments are provided above, however, the number of coats
employed does not limit the scope of the present invention. Non-stick coatings of the present invention
may also consist of three or more coats. For example, it may be desirable to use two different primers or
it may be desirable to add one or more intermediate coats.

While particular embodiments of the present invention have been illustrated and described above, the
present invention should not be limited to such examples and descriptions. It should be apparent that
changes and modifications may be incorporated and embodied as part of the present invention within the
scope of the following claims.

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(12)   United States Patent                                               (10)   Patent No.:     US 7,354,648 B2
       Bate                                                               (45)   Date of Patent:       Apr. 8, 2008

(54)   ELECTRICALLY CONDUCTIVE NON~STlCK                             (56)                    References Cited
       COATING
                                                                                        U.S. PATENT DOCUMENTS
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(21)   Appl. No.: 10/958,097
                                                                     CN                  1195683 A         4/1997
(22)   Filed:      Oct. 4, 2004
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(65)                 Prior Publication Data
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       B32B 27/02            (2006.01)
       B32B 27/28            (2006.01)                               * cited by examiner
       B32B 27/14            (2006.01)                               Primary Examiner-Stanley S. Silverman
       B32C 27/12            (2006.01)                               Assistant Examiner-Kallarnbella Vijayakumar
       C08L 23/00            (2006.01)                               (74) Attorney, Agent, or Firm-Brinks Hofer Gilson &
(52)   U.S. Cl.                  428/421; 428/357; 428/389;          Lione
             428/323; 428/363; 428/402; 428/404; 428/353;
           252/500; 252/511; 252/518.1; 430/311; 430/201;            (57)                       ABSTRACT
            4301110.3; 430/527; 399/159; 347/105; 3471106
(58)   Field of Classification Search              2521500,          A non-stick coating includes fluoropolymer and electrically
                   252/511,518.1; 428/357,389,323,363,               conductive mica. The coating may be used on rollers in
                428/364,402,403,404; 106/455,491,417,                printing machines to help dissipate static electricity.
                                               106/425, 430
       See application file for complete search history.                                  6 Claims, No Drawings
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                              1                                                                        2
    ELECTRICALLY CONDUCTIVE NON-8TICK                                       The non-stick coatings of the present invention include
                 COATING                                                electrically conductive mica. "Electrically conductive mica"
                                                                        is mica that has been treated to create an electrically con-
         BACKGROUND OF THE INVENTION                                    ductive material. Examples of electrically conductive mica
                                                                  5     include, but are not limited to, mica that has been coated
   Modem printing machines generally contain a heated                   with conductive metals, conductive metal oxides, conduc-
fuser roller and an opposing pressure roller. As paper is fed           tive polymers, and/or materials that contain conductive
between the rollers, the heated fuser roller melts (Le., fuses)         metals, metal oxides and/or polymers. Exemplary, non-
toner onto the paper to form the desired image. The pressure            limiting examples of metal oxides that can be used to coat
roller applies sufficient pressure to the paper to allow it to    10    the mica are indium oxide, tin antimony oxide, titanium
touch the fuser roller and have the image applied to it. The            dioxide, and/or tin dioxide. Preferably, the mica that is
fuser roller typically consists of a steel or aluminum core.            coated is in flat, platelet form. The mica may be natural or
The pressure roller typically also consists of a steel or               synthetic. The preferred electrically conductive mica com·
aluminum core, but further includes a flexible rubber coating           prises flat platelets of mica coated with tin antimony oxide
that can bend and adapt to the topographical features of the      15    (tin oxide doped with antimony) and is commerciaily avail-
fuser roller and paper                                                  able from EM Industries, Inc. under the trade name
   Rollers in copiers and printers can built up a static charge         MINATEC 40CM.
that compromises image quality and printing speed. Static                   As discussed above, it is preferred that the coated mica is
electricity can be particularly problematic with fuser rollers.         in platelet form. Alternatively, the mica may be in the form
For this reason, it is sometimes desirable for a non-stick        20    of long fibers. An exemplary fibrous electrically conductive
coating on a roller to be electrically conductive and have the          mica is 3M Metal Coated Particles 8D220 which is com-
ability to dissipate static electricity. Prior coatings were            mercially available from 3M Corporation. When fibrous
commonly made conductive by including carbon black.                     mica is incorporated in a non-stick coating, the long strands
Such coatings, however, may include such a large volume of              of mica may extend out of the coating. If the coating
carbon black that the carbon black compromises the non-           25    containing the fibrous mica is a base or intermediate coat,
stick characteristics of the coating and limits the ability to          the fibrous mica may reach into adjacent coating(s). It is
have a conductive non-stick coating that is any color other             preferred that fibrous mica is used in a base coat or inter-
than black. An improved conductive non-stick coating is                 mediate coat to create a conductive bridge between and
therefore desired.                                                      within different layers. This conductive bridge enhances the
                                                                  30    ability of a multi-coat system to dissipate static electricity. A
        BRIEF SUMMARY OF THE INVENTION                                  base coat or intermediate coat that includes fibrous electri-
                                                                        cally conductive mica is preferably used with a top coat that
   The non-stick coating of the present invention includes              includes electrically conductive mica in platelet form.
fluoropolymer and electrically conductive mica.                             Fibrous conductive mica is also useful in a base or
   A method of dissipating static electricity in a printing       35    intermediate coat where a particular overall color is desired
machine roller is also provided. The method comprises the               for the multi-coat system. Carbon black is commonly used
steps of providing a printing machine roller, coating the               in base or intermediate coats, but, in situations where the
printing machine roller with a non-stick coating that                   base or intermediate coats include carbon black, the overall
includes fluoropolymer and electrically conductive mica,                color of the coating is generally also black because the deep
curing the coating on the printing machine roller, and            40    black color of the carbon black dominates the presence of
installing the printing machine roller in the printing                  any other colors. Use of fibrous conductive mica instead of
machine.                                                                carbon black enables different colored coatings (i.e. coatings
                                                                        that are not black) because the fibrous conductive mica does
           DETAILED DESCRIPTION OF THE                                  not dominate the color of the coating to the same extent as
             PREFERRED EMBODIMENTS                                45    carbon black. As a result, the benefit of non-black pigments
                                                                        may be fully realized in a conductive non-stick coating.
   The non-stick coating of the present invention may be                    The non-stick coatings of the present invention may
used to coat a substrate of any desired hardness. The type of           include one or more different electrically conductive micas.
substrate to which the coating is applied does not limit the            The particle size of the electrically conductive mica should
scope of the invention. In one embodiment, the non-stick          50    be the size that is appropriate for the particular application.
coating of the present invention is used to coat a roller for           The particle size of electrically conductive mica in platelet
use in a printing machine, such as a high-speed digital copier          form is preferably about 1 to 20 microns, and most prefer-
or printer. The roller may be a pressure roller or a fuser              ably about 5 to 10 microns. An appropriate amount of
roller, Most preferably, the coating of the pr<:sent invention          electrically conductive mica should be used for the particu-
is used to coat a fuser roller. As used herein, "roller" refers   55    lar application. Generally, the preferred amount of electri-
generally to pressure rollers, fuser rollers, and the like,             cally conductive mica is about 0.1% to 10% by weight,
unless specifically stated otherwise.                                   preferably about 0.5 to 5% by weight, and most preferably
   The non-stick coating of the present invention may be                about 1% by weight. In general, the amount of electrically
applied as a one-coat system or as part of a multi-coat                 conductive mica that is required for a particular application
system. By way ofexample, a multi-coat system may consist         60    occupies less volume in the coating and facilitates better
of a base coat and a top coat. Altematively, one or more                release and color characteristics for the coating than prior
intermediate coatings may be applied between the base coat              conductive pigments such as carbon black. As used herein,
and the top coat. In a preferred embodiment, the non-stick              weight percentages are expressed as a percent of the wet
coating of the present invention is applied as the top coat in          boating formulation.
a two-coat system. The non-stick coatings of the present          65   ' '. The non-stick coating of the present invention includes
invention can be used, however, as anyone of the coats in               fluoropolymer. The fluoropolymer is responsible for the
a multi-coat system.                                                    non-stick quality of the coating. There are myriad commer-
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cially available fluoropolymers and the specific fluoropoly-        non-stick coating on the installed fuser roller helps dissipate
mer chosen does not limit the scope ofthe present invention.        static charge that may build up during operation of the
The fluoropolymer component of the present invention may            printing machine.
include a single type of f1uoropolymer, or may include a               The invention will now be described in more detail with
mixture or blend of more than one type of fluoropolymer.          5 reference the following examples.
The fluoropolymer may be a micropowder or a dispersion of
fluoropolymer in water. By "dispersion" it is meant that the                                 EXAMPLE 1
fluoropolymer particles are stably dispersed in water so that
                                                                        A coating formulation made in accordance with the
the particles do not settle before the dispersion is used. In
                                                                  10 present invention comprises 63.5% PTFE dispersion, 12.7%
some cases it may be desirable to include an organic solvent,        acrylic resin, 4.75% electrically conductive mica, 4.4% PFA
such as n-methylpyrrolidone, butyrolactone, high boiling             dispersion, 4.04% triethanolamine, 1.09% butyl carbitol,
aromatic solvents, alcohols, or mixtures thereof. The fluo-          and 1.09% of a 12% cerium octoate solution, and 1.1%
ropolymer used in the coating of the present invention is            nonionic surfactant (TRITON X-1DO, co=ercially avail-
preferably provided a dispersion.                                 15 able from Union Carbide Inc.). The balance of the formu-
   Exemplary fluoropolymers are tetrafluoroethylene-per-             lation is water and additives. Each additive comprises less
fluoromethyl vinyl ether copolymer (MFA), tetrafluoroeth-            than 2% of the composition. The additives include well
ylene-hexafluoropropylene copolymer (FEP), and polytet-              known defoamers, flow agents, dispersants, surfactants, sta-
rafluoroethylene (PTFE). Non-limiting examples of other              bilizers, thickeners, pigments, and/or IDlers.
acceptable fluoropolymers are polychloro-trifluoroethylene        20    The exemplary coating described above is made as fol-
(pcTFE), ethylene-chlorotrifluoroethylene copolymer                  lows. 748 pounds ofPTFE dispersion is added to 52 pounds
(ECTFE), ethylene-tetrafluoroethylene copolymer (ETFE),              ofPFA dispersion and mixed for three minutes. The follow-
tetrafluoroethylene (TFE) and perfluoro (ethyl vinyl ether)          ing solvents are mixed at high speed for 3-5 minutes and
(PEVE) copolymer (PFA), TFE and perfiuoro (propyl vinyl              slowly added to the fluoropolymer dispersion mixture: 13
ether) (PPVE) copolymer (PFA), polyvinylfluoride (PVF),           25 pounds of butyl carbitol, 15 pounds of Aromatic 150 (aro-
and polyvinylidene fluoride (PVDF). The fluoropolymer                matic hydrocarbon mixture, CAS #64742-94-5), 47 pounds
component may also include comonomer modifiers that                  of triethanolamine, 13 pounds of Emersol 221 (oleic acid,
improve selected characteristics.                                    CAS #112-80-1), 14 pounds of TRITON X-I 00, and 13
   PTFE and PFA are the preferred fluoropolymers. The                pounds of a 12% cerium octoate solution. 150 pounds of
preferred PTFE is co=ercially available as a dispersion           30
                                                                     acrylic resin (NEOCRYL BT 44, co=ercially available
from Daikin Ainerica, Inc. and sold under the trade name             from Zeneca Inc.) and 56 pounds of water are added and the
DAIKIN-POLYFLON. The preferred PFA is co=ercially                    mixture is mixed at low speed for 15 minutes. 56 pounds of
available as a dispersion from 3M and sold under the trade           electrically conductive mica are added and the mixture is put
name DYNEON PFA 6900 N.                                              through a filter rated at 75 microns.
                                                                  35    The wet non-stick coating formulation can be sprayed
   The coating of the present invention may include an
                                                                     onto a substrate, such as a steel or aluminum fuser roller in
acrylic polymer. Useful acrylic polymers include polymers            a printing machine, by conventional or high volume, low
and copolymers of esters of acrylic acid and methacrylic
                                                                     pressure (HVLP) methods. The coating is preferably cured
acid, such as methyl acrylate, methyl methacrylate, ethyl
                                                                     for 5 minutes at 820 0 F.
acrylate, ethyl methacrylate, propyl acrylate, propyl meth-
acrylate, butyl acrylate, butyl methacrylate, and similar         40
                                                                                              EXAMPLE 2
monomers. One or more different acrylic polymers may be
combined for use in the coating formulations of the present
                                                                          A coating formulation made in accordance with the
invention. A preferred acrylic polymer is co=ercially                  present invention comprises 61.7% polytetrafluoroethylene
available from Zeneca, Inc. under the trade name NEOC-
RYL BT 44                                                         45
                                                                       dispersion, 5.3% electrically conductive mica pigment,
                                                                       3.8% triethylene glycol, 2.8% xylene, 2.0% propylene gly-
   The wet non-stick coating formulation of the present                col, 0.2% silicone free defoamer, and 0.1% fluorosurfactant.
invention can be sprayed onto a substrate, such as a steel or          The balance of the formulation is water and additives. Each
aluminum fuser roller in a printing machine, by conven-                additive comprises less than 2% of the composition. The
tional or high volume, low pressure (HVLP) methods. The           50 additives include well known defoamers, flow agents, dis-
substrate may already include one or more ,coatings. The               persants, surfactants, stabilizers, thickeners, pigments, and!
thickness ofany existing coatings is preferably less than 10           or IDlers.
microns. The coating of the present invention is applied to               The exemplary coating described above is made as fol-
the substrate and is preferably cured for 5 minutes at 820 0 F.        lows. 221 pounds of water are mixed with 2 pounds of a
   The solvent system and the drying time used with the           55 silicone free defoamer. To this mixture is added a mixture of
coating ofthe present invention are preferably chosen so that          44 pounds of triethylene glycol, 11 pounds of nomonic
the time to cure the coating is sufficiently long for the mica         surfactant, 5 pounds of ethoxylated surfactant, and 0.5
particles to orient themselves. For example, if the electri-           pounds of a flow agent. The resultant mixture is mixed at
cally conductive mica comprises flat platelets of coated               high speed for three minutes. 33 pounds of xylene and 61
mica, it is preferred that the coating is cured for a time that   60 pounds of electrically conductive mica are added and mixed
is long enough for the platelets of mica to orient themselves          for 5 minutes. 24 pounds of blue pigment and 24 pounds of
in a generally horizontal relationship with respect to the             propylene glycol are ground together and added to the
substrate. The thickness of the coating of the present inven-          mixture. 718 pounds of a polytetrafluoroethelyene disper-
tion after it has been cured is preferably about 5 to about 15       . slon, 7 pounds of white pigment, 0.5 pounds of flow agent
microns, most preferably about 10 microns.                        65 i1nd 2 pounds of surfactant are then added to the mixture
   In a preferred embodiment, the coating is applied to a              Thickener is added to adjust the viscosity. The formulation
fuser roller for use in a printing machine. The conductive,            is filtered through a mesh filter rated at 75 microns.
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   Apreferred silicone free defoamer is co=ercially avail-          the second coating being located above the first coating
able from Troy Corporation under the trade name                        and including fiuoropolymer and platelets of electri-
TROYKYD D999. A preferred ethoxylated surfactant is                    cally conductive mica.
available from Air Products Corp. under the trade name              2. The roller of claim 1, wherein the color of the first and
SURFYNOL 440. A preferred fiuorosurfactant is co=er- 5 second coatings is not black.
cially available from 3M under the trade name FLUORAD               3. The roller of claim 1, wherein the color of the roller is
FC129. A preferred dispersant is an acetylene diol dispersant    not black.
that is co=ercially available from Air Products and                 4. The roller of claim 1, wherein the first coating and the
Chemicals, Inc. under the trade name SURFYNOL l04BC.             second coating do not include carbon black.
The remaining components are staple chemicals that are 10
                                                                    5. A method of dissipating static electricity in a printing
widely known and available.                                      machine roller, the method comprising the following steps:
   The wet non-stick coating fo=ulation can be sprayed
                                                                    a. providing a printing machine roller;
onto a substrate, such as a steel or aluminum fuser roller in
a printing machine, by conventional or high volume, low             b. coating the printing machine roller with a first coating
pressure (HVLP) methods. The coating is preferably cured 15            and second coating, the first coating including fiuo-
for 5 minutes at 820 0 F.                                              ropolymer and fibers of electrically conductive mica,
   While particular embodiments of the present invention               the second coating being located above the first coating
have been illustrated and described above, the present inven-          and including fiuoropolymer and platelets of electri-
tion should not be limited to such examples and descriptions.          cally conductive mica;
It should be apparent that changes and modifications may be 20      c. curing the first and second coatings on the printing
incorporated and embodied as part of the present invention             machine roller; and,
within the scope of the following claims.                           d.  installing the printing machine roller in a printing
   The invention claimed is:                                           machine.
   1. A roller for use in a printing machine, the roller            6. The method of claim 5, wherein the printing machine
comprising a first coating and second coating,                25 roller is a fuser roller.
   the first coating including fluoropolymer and fibers of
      electrically conductive mica,
                                                                                         '" '" '" '" '"
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                       EXHIBITB
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 ~ (54) Title: COMPOSITION FOR USE AS NON-STICK COATING

 o    (57) Abstract: A substrate with a non stick surface which is obtained by sequentially applying on the substrate and curing of at
      least three coating layers. All coating layers comprise a fluorocarbon resin and some other resins, the basecoat layer and the top-
 ~    coat layer comprise inorganic particles.
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       COMPOSITION FOR USE AS NON-STICK COATING




       BACKGROUND OF THE INVENTION
 5
       Field of the Invention


       The present invention relates to compositions that can be used for non-stick
       coating applications.
10

       Prior Art


       Non-stick coatings are well known in the art. In these coatings normally
       fluorocarbon resins are used, since these resins have a low surface energy as
15     well as thermal and chemical resistance. However, non-stick coatings based
       upon fluorocarbon resins are limited with regard to abrasion resistance and
       resistance to flame contact, as well as adhesion to metal substrates. Such
       coatings are easily damaged when cut with a knife or another metal tool.
       Rubbing or sanding also easily wears these coatings away.
20
       Non-stick coatings may be applied in a single layer or as a multilayer coating.


       One of the problems that is found when using non-stick coatings in frying pans
       is the absence of browning or searing of the products that are prepared in
25     these pans. This has an impact on the appearance and taste of the products
       prepared in this way in comparison to products that are prepared in
       conventional cookware without a non stick coating.


       The non-stick coatings according to the present invention combine the well
30     known easy release properties of non-stick coatings with the searing of
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       products.
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       SUMMARY OF THE INVENTION


       According to the present invention such combination of properties can be
       obtained by sequential applying on a substrate and curing the following coating
 5     compositions:
           a)     A basecoat composition comprising
                       i.   5 - 15 wt.% of a fluorocarbon resin,
                      ii.   5 - 15 wt. % of an inorganic particle with an average particle
                            size between 5 and 151Jm, and
10                iii.      20 - 30 wt% of a heat resistant binder resin,
           b)     A midcoat composition comprising
                       i.   50 - 65 wt. % of a fluorocarbon resin,
                      ii.   5 -15 wt.% of an acrylic resin, and
                  iii.      0 -10 wt.% of a heat resistant binder resin,
15                and
           c)     A topcoat composition comprising
                       i.   50 - 65 wt.% of a fluorocarbon resin,
                      ii.   5 -15 wt.% of an acrylic resin, and
                  iii.      3 - 10 wt. % of an inorganic particle with an average particle
20                          size between 15 and 20 IJm.




       Other embodiments of the invention comprise details concerning compositions,
       relative amounts of ingredients, particle sizes and method steps.
25     In this description wt.% refers to wt.% based on the total weight of a
       composition, unless specified otherwise.
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       DETAILED D1SCRIPTION OF THE INVENTION


       BASECOAT OR PRIMER COMPOSITION
       In addition to the fluorocarbon resin, the inorganic particlE3s, and heat resistant
 5     binder resin, the basecoat composition can comprise one or more of the
       following components: fillers, pigments surfactants, solvents, defoamers, and
       any other component for a coating composition known to the person skilled in
       the art.
       In a preferred embodiment the basecoat composition is a waterborne
10     composition, wherein all ingredients are dispersed in water or are water-
       soluble.


       MIDCOAT COMPOSITION
       In addition to the fluorocarbon resin, the acrylic resin, and heat resistant binder
15     resin, the midcoat composition can comprise one or more of the following
       components: fillers, pigments surfactants, solvents, defoamers, and any other
       component for a coating composition known to the person skilled in the art.
       In a preferred embodiment the midcoat composition               is a waterborne
       composition, wherein all ingredients are dispersed in water or are water-
20     soluble.


       TOPCOAT COMPOSITION
       In addition to the fluorocarbon resin, the acrylic resin, and the inorganic
       particles, the topcoat composition can comprise one or more of the following
25     components: fillers, pigments surfactants, solvents, defoamers, and any other
       component for a coating composition known to the person skilled in the art.

       In a preferred embodiment the topcoat composition is a waterborne
       composition, wherein all ingredients are dispersed in water or are water-
       soluble.

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       FLUOROCARBON RESIN
       Examples of fluorocarbon resins that can be used in the present invention
       include polytetrafluoroethylene (PTFE), and copolymers of tetrafluoroethylene
       (TFE) with hexafluoropropylene (HFP), perfluoropropylvinyl ether (PPVE),
 5     perfluoroalkyl   vinyl   ether,   and   ethylene.   Commercial     examples     are
       tetrafluoroethylene-hexafluoropropylene copolymers (FEP), tetrafluoroethylene-
       perfluoroalkyl vinyl ether copolymers (PFA),         ethylene-tetrafluoroethylene
       copolymers (ETFE). Also mixtures of any of the above polymers, copolymers
       and monomers can be used.
10
       If the contemplated application or use of the coated item is high temperature,
       the selection of fJuoropolymer(s) should be those that are heat stable.


       PTFE is an example of a heat resistant or stable fluorocarbon resins that can
15     be used according to the present invention.


       Fluorocarbon resins that are melt flowable at a temperature above 300°C
       include copolymers of TFE, e.g., FEP and PFA.


20     The fluorocarbon resins are generally available as a dispersion of the polymer
       in water. In this dispersion the polymer particles have a small size (usually
       around 0,2 I-Im) and a surfactant is used to obtain a stable dispersion. For
       some polymers it is desirable to include an organic liquid in the dispersion.


25     The fluorocarbon resin can also be present as a polymer powder, in which case
       normally an organic liquid is used to mix the particles into the coating
       composition.



       HEAT RESISTANT BINDER RESIN (ADHESION PROMOTER)
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       The heat resistant binder resin that is present in the primer or basecoat
       composition and that can be present in the midcoat composition is a polymer
       that is film-forming upon heating (such as by radiation), evaporation of the
       solvent, and is also thermally stable. The binder shows good adhesion to the
 5     substrate and to the f1uoropolymer composition that is applied over the primer
       or midcoat composition. Preferred binders are those that are soluble or
       solubilized in water or a mixture of water and one ore more organic solvents for
       the binder. This solvent should be miscible with water. The solubility of the
       binder enhances the mixing of the binder with the other components that are
10     present in the primer composition. An example of a suitable heat resistant
       binder component is a polyamic acid resin (PAl), which converts to a
       polyamideimide upon heating. This binder when fullyimidized is able to
       withstand a continuous service temperature in excess of 250°C. In general, the
       polyamic acid is dissolved in a suitable combination of a solvent, such as N-
15     methylpyrolidone, water, and suitable tertiary alkyl amine. Another example of a
       suitable heat resistant binder component is polyethersulfone (PES). These
       polymers can withstand a continuous service temperature in the range from
       170°C to 190°C. Also polyphenylene sulphide (PPS) can be used as a heat
       resistant binder, either alone or in a mixture with PAl or PES.
20     Examples of heat resistant binders that can be used according to the present
       invention include Torlon® AI-1 0 (ex. Solvay), and Radel A-300 (ex. Solvay).



       ACRYLIC RESIN
       The midcoat composition and the topcoat composition comprise an acrylic
25     resin. In principle any acrylic resin can be used in these coating compositions.
       In a preferred embodiment the acrylic resin has a T9 in the range of 40 - 70°C.
       In a further preferred embodiment, the acrylic resin is a water-dispersable
       acrylic resin.


30     INORGANIC INERT PARTICLES
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       The basecoat composition and the topcoat composition comprise inorganic
       particles, which are inert with respect to the other components that are present
       in the composition and can withstand a continuous service temperature in
       excess of 250°C. In addition, these particles are also stable at the eventual
 5     baking temperature of the non-stick coating. The particles are also not soluble
       in water or any other solvent that is present in the primer composition.
       Examples of suitable inorganic particles include inorganic oxides, carbides or
       nitrides of elements in groups IIA - VB of the periodic table and natural
       minerals. In the basecoat the inorganic particles have an average particle size
10     in the range from about 5 to about 15 IJm, in the topcoat the inorganic particles
       have an average particle size in the range from about 15 to about 20 IJm. The
       inorganic particles have a preferred Mohs hardness of at least about 5, more
       preferably a mohs hardness of at least about 6. Examples of inorganic particles
       with Mohs hardness above 5 include alumina, zirconia, silicon carbide, titanium'
15     carbide, aluminium boride, and cristobalite.


       In addition to the inorganic inert particles mentioned above, the coating
       compositions used according to the present invention can also comprise fillers,
       additives, and pigments that are commonly used in the preparation of coating
20     compositions. Fillers can be any fillers known to those skilled in the art, e.g.,
       barium sulfate, calcium sulfate, calcium carbonate, silicas or silicates (such as
       talc, feldspar, and china clay). Additives such as stabilizers, antioxidants,
       leveling agents, antisettling agents, matting agents, rheology modifiers,
       surface-active agents, UV light absorbers, light stabilizers, amine synergists,
25     waxes, or adhesion promoters can also be added.


       APPLICATION OF THE COATING
       The substrates coated according to the present invention can be aluminium
       shaped articles, such as pots, pans, lids, mixing spoons, and all other utensils
30     usually employed for food preparatic>n and cooking (baking pans, oven racks
                                             I


       etc.) as well as aluminium sheet to' be shaped into the aforesaid articles. In
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       both cases, the aluminium support is simply degreased according to any known
       method, e.g., in an alkaline or acid environment, or with organic solvents. In
       this treatment, the aluminium support maintains the surface roughness of the
       aluminium sheet, i.e. below 1,2 IJm. In addition to the degreasing it is possible
 5     to roughen the surface, e.g. by sand blasting or grinding, before application of
       the primer. However,this is not necessary.


       In a next step the basecoat composition is applied and the coated article is
       dried until the coating is touch dry. This drying can be done in an oven. In a
10     further step the midcoat composition and the topcoat composition are applied.
       In one embodiment, the midcoat is dried before the topcoat is applied. In
       another embodiment, the midcoat composition and the topcoat composition are
       applied wet-on-wet.


15     Finally, the substrate is baked in an oven at a temperature between 380 0 e and
       440 oe, preferably between 41 ooe and 430 oe.


       The invention will be elucidated with reference to the following examples.
       These are intended to illustrate the invention but are not to be construed as
20     limiting in any manner the scope thereof.


       Examples


       The following applies to the examples given below:
25
       Scotch Brite abrasion test


       The Scotch Brite Abrasion' Test measures a coating's resistance to a constant
       scrubbing with an abrasive scouring pad. The vertical load on the scouring pad
30     is set to 10 pounds (4.54 kg), and the
                                           I,
                                              scouring pad is changed every 10,000
       strokes. The number of cycles that are required to scrape the coating down to
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       bare metal is recorded in order to gauge the abrasion resistance of the non-
       stick system.


       Egg Release test
 5

       A pan coated with non-stick coating is heated to 150      0   C, after which an egg is
       fried. The level of release is rated as follows;
                Egg release grading scale (cleaning with dishwasher detergent/water)
                1. Very poor: Egg sticks to wear track and difficult to clean
10              2. Very poor: Egg sticks to wear track but cleaning somewhat easier
                3. Very poor: Egg sticks to 90% of wear track but cleaned fairly easy
                4. Very poor: Egg sticks to 80% of wear track but cleaned fairly easy
                5. Poor: Egg sticks to 70% of wear track but cleaned fairly easy
                6. Fair: Egg sticks to 60% of wear track but cleaned fairly easy
15              7. Fair: Egg sticks to 20-40% of wear track but cleaned fairly easy
                8. Good: Egg sticks to 10% of wear track but cleaned easily
                9. Very good: Egg could be removed intact with some difficulty, easy cleaning
                10. Excellent: Clean removal of egg intact, no residue left.



20     Hand Held Tiger Paw test


       The hand held "Tiger Paw" device is an industry-accepted standard, which was
       designed to test the resistance of a non-stick coating to long-term kitchen
       abuse. The Hand Held Tiger Paw consists of a weighted apparatus, which uses
25     three "ball point" pens to scratch the coating film. The cookware which is being
                                                                                0
       tested is filled with a thin layer of cooking oil, and heated to 400 Fahrenheit
            0
       (205 Celsius.)
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   The Tiger Paw is rotated over the non-stick surface in a circular fashion 2000
   times, changing direction every 100 rotations. The coating is then examined for
   any fraying, blistering, or penetration to bare metal.
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          1.      Comparative example 1

                   Basecoat                    Middle coat                    Topcoat
           Raw material        Wt%     Raw material          Wt%    Raw material        Wt%
    1      Deionized water     61.3    Black pigment         0.2    Hydrocarbon         1.4
                                                                    Solvent
    2     N-                    3.4    Hydrocarbon            1.3   Titania coated       0.3
          methvlpvrrolidone            Solvent                      mica, EM Ind
    3     Furfuryl Alcohol      2.4    Titania coated         0.5   Cerium octoate       1.2
                                       mica, EM Ind
    4     Triton X100           3.0    Cerium octoate         1.2   PTFE emulsion       62.3
          surfactant
    5     Aluminum Oxide        0.8    PTFE emulsion         60.1   FEP emulsion        2.2
    6     PTFE emulsion        16.0    FEP emulsion          2.1    Deionized water     14.9
    7     Black pigment        0.6     Deionized water       17.9   Triethanolamine     4.3
    8     Ultramarine blue     5.0     Triethanolamine       4.0    Oleic Acid           1.1
          pigment
    9     FEP emulsion          1.0    Oleic Acid             1.2   Acrvlic emulsion    12.0
    1     Polyamide-imide       6.5    Acrylic emulsion      11.5   Aluminum Oxide      0.3
    0
                               100.                          100.                       100.
                                0                             0                          0



    5     1.      Comparative example 2

                Basecoat                    Middle coat                     Topcoat
         Raw material           Wt    Raw material           Wt%    Raw material        Wt%
                                %
1        Deionized water       52.8   Black pigment          0.2    Hydrocarbon          1.4
                                                                    Solvent
2        N-methylpyrrolidone   3.4    Hydrocarbon            1.3    Titania coated       0.3
                                      Solvent                       mica, EM Ind
3        Furfuryl Alcohol      2.4    Titania coated         0.5    Cerium octoate       1.2
                                      mica, EMlnd
4       Triton .RTM. X100      3.0    Cerium octoate         1.2    PTFE emulsion       62.3
        surfactant
5       Aluminum Oxide         0.6    PTFE emulsion          60.1   FEP emulsion        2.2
6       PTFE emulsion          16.0   FEP emulsion            2.1   Deionized water     14.9
7       Black piqment          0.3    Deionized water        17.9   Triethanolamine     4.3
8       Ultramarine blue       5.0    Triethanolamine         4.0   Oleic Acid          1.1
        piqment
9       FEP emulsion           1.0    Oleic Acid              1.2   Acrylic emulsion    12.0
1       Polyamide-imide        6.5    Acrylic emulsion       11.5   Aluminum Oxide      0.3
0
1        Silicon carbide       9.0
1
                               100               ;'   .      100.                       100.
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          2.      Example (sear coating)

                  Basecoat                       Middle coat                      Topcoat
         Raw material            Wt%    Raw material           Wt%      Raw material        Wt%
1        Deionized water         49.5   Hydrocarbon            1.2      Hydrocarbon         0.9
                                   2    Solvent                         Solvent
2        N-methylpyrrolidone      2.4   Titania coated         4.9      Titania coated       0.8
                                        mica, EM Ind                    mica, EM Ind
3        Furfuryl Alcohol         1.2   Cerium octoate          0.9     Cerium octoate      0.9
4        Triton .RTM. X100       0.95   PTFE emulsion          55.0     PTFE emulsion       53.5
         surfactant
5        Aluminum Oxide           5.0   FEP emulsion           3.9      FEP emulsion        3.7
6        PTFE emulsion            8.3   Deionized water        15.7     Deionized water     19.6
7        Black piqment           0.25   Triethanolamine        3.5      Triethanolamine     3.4
8        Ultramarine blue        4.0    Oleic Acid              1.2     Oleic Acid          0.9
         piqment
9        FEP emulsion            0.88   Acrylic emulsion       11.5     Acrylic emulsion    10.7
1        Polyamide-imide         6.5    Polyethersulfone        1.2     Silicon carbide     5.4
0
1        Silicon carbide         11.0                                   Black pigment        0.2
1
                                 100.                          100.                         100.
                                  0                             0                            0

    5     In these examples, the consecutive coating layers were spayed on a grit blast
          frying pan at a total film thickness of around 25-32 microns. After a flash bake
          for 3-5 minutes at 80-120°C, then final cure was done for 3-5 minutes at 427-
          432°C. Performance comparison of these examples was listed as below.

                             Comparative example Comparative example               Example
                             1                   2                                 (sear coating)

          1 Egg              8                           9                         9
            release
          2 TiQer paw        500 cycles                  900 cycles                2,600 cycles
          3 AIHAT            3 cycles                    7 cycles                  21 cycles
          4 Abrasion         10,OOOcycies                90,000cycies              150,000cycle
                                                                                   s
10
          From the above test result, it is clearly shown that the substrate with the
          coating in accordance to the present invention shows excellent periormance.
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       Claims


       1.       A substrate with a non stick surface, said non stick surface obtained by
                sequential applying on the substrate and curing the following coating
 5              compositions:
                  a) A basecoat composition comprising
                        iv. 5 -15 wt.% of a fluorocarbon resin,
                         v. 5 - 15 wt. % of an inorganic particle with an average
                            particle size between 5 and 151Jm, and
10                      vi. 20 - 30 wt% of a heat resistant binder resin,
                  b) A midcoat composition comprising
                        vii. 50 - 65 wt.% of a fluorocarbon resin,
                       viii. 5 - 15 wt. % of an acrylic resin, and
                        ix. 5 - 10 wt. % of a heat resistant binder resin,
15              and
                  c) A topcoat composition comprising
                         x. 50 - 65 wt.% of a fluorocarbon resin,
                        xi. 5 -15 wt.% of an acrylic resin, and
                        xii. 3 - 10 wt. % of an inorganic particle with an average
20                          particle size between 15 and 20 IJm.


       2.       A substrate according to claim 1, characterised in that the basecoat
                and the topcoat comprise inorganic particles selected from the group
                consisting of alumina, zirconia, silicon carbide, titanium carbide,
25              aluminum boride, and cristobalite.


       3.       A process for the preparation of the substrate according to claim 1
                wherein in a first step the basecoat is applied to the substrate and
                dried, in a next step the midcoat is applied on top of the basecoat and
30              dried, and in a further step the topcoat is applied on top of the midcoat,
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              and in a final step the thus obtained coated substrate is baked at a
              temperature between 380 0 e and 440 o e.


      4.      A process according to claim 1 wherein the acrylic resin has   aT   g   in the
5             range of 40 - 70 c e.
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 A.      CLASSIFICATION OF SUBJECT MATTER

                                                                  See extra sheet
 According to International Patent Classification (IPC) or to both national classification and IPC

 B.         FIELDS SEARCHED

 Minimum documentation searched (classification system followed by classification symbols)

                                                                   IPC: A61K,A61P

      Documentation searched other than minimum documentation to the extent that such documents are included in the fields searched

 Electronic data base consulted during the international search (name of data base and, where practicable, search terms used)

  WPI., EPODOC, PAJ,CA,MEDLlNE,EMBASE: FLUOROCARBON,ACRYLIC, NON-STICK, NON STICK, +FUOROCARBON,
                                          ACRYL+,RESIN,INORGANIC,PARTlCLE,GRAIN,GRANULE


 C. DOCUMENTS CONSIDERED TO BE RELEVANT

 Category*                 Citation of document, with indication, where appropriate, ofthe relevant passages             Relevant to claim No.

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         X         CN1315984A(DUPONT DE NEMOURS & COEI),03 Oct. 2001(03.10.2001)                                                     1-4

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      181    Further documents are listed in the continuation ol' Box C.         181   See patent family annex.

   *          Special categories of cited documents:                       "T"     later document published after the international filing date
                                                                                   or priority date and not in conflict with the application but
 "A"         document defining the general state ofthe art which is not            cited to understand the principle or theory underlying the
             considered to be of particular relevance                              invention
 (CE'~
             earlier application or patent but published on or after the   ''X'' document of particular relevance; the claimed invention
             international filing date                                           cannot be considered novel or cannot be considered to involve
                                                                                   an inventive step when the document is taken alone
 "L" document which may throw doubts on priority claim (S) or
                                                                           "Y" document of particular relevance; the claimed invention
     which is cited to establish the pUblication date of another
                                                                                   cannot be considered to involve an inventive step when the
     citation or other special reason (as specified)                               document is combined with one or more other such
 (CO" document referring to an oral disclosure, use, exhibition or                 documents, such combination being obvious to a person
             other means                                                           skilled in the art
 "p" document published prior to the international filing date             "& "document member ofthe same patent family
             but later than the priority date claimed
 Date of the actual completion of the international search                 Date of mailing ofthe international search report
                           280ct,2009(28.10.2009)                                             26 Nov. 2009 (26.11.2009)
Name and mailing address of the ISA/CN                                     Authorized officer
The State Intellectual Property Office, the P.R.China
6 Xitucheng Rd., Jimen Bridge, Haidian District, Beijing, China                                         LI,Fengyun
100088                                                                     Telephone No. (86-10)62411143
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                                                                                             International application No.
               INTERNATIONAL SEARCH REPORT
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               See claim 1-9, page 2 line 12- page 3 line 12

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                                                                                    PCT/CN2009/070381
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                  Information on patent family members
                                                                                   PCT/CN2009/070381
    Patent Documents referred            Publication Date      Patent Family                   Publication Date
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               INTERNATIONAL SEARCH REPORT         International application No.

                                                           PCT/CN2009/070381
 CLASSIFICATION OF SUBJECT MATTER

 BOSDS/08 (2006.01) i
 A47J36/02 (2006.01) i

 A47J37/10 (2006.01) i

 A47J27/00 (2006.01) i

 C09D127/12 (2006.01) i

 C09D12714 (2006.01) i

 C09D127/18 (2006.01) i




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                                                   June 2, 2008




Nanochem Technologies, Ltd.
4715 Pine Creek Road
Elkhart, IN 46516


Gentlemen:



             Akzo Nobel Non..stick Coatings LLC (hereafter to as "AkZo Nobel")
and Nanochem Technologies, Ltd. (hereafter referred to as "Nanochem"), in
accordance with this Agreement of the above date, wish to exchange
information for the purpose of determining whether Nanochem might toll
manufacture certain products fQr Akzo Nobel (Purpose). Akzo Nobel will
disclose formulas, product specifications, sales forecasts and processing
knowMhow. Nanochem may disclose their processing know-how. The
information provided by both parties hereunder is collectively referred'to as
                                                                                  I
                                                                                  r
"Confidentiallnformation". Akzo Nobel may also provide samples of product
and color standards to Nanochem (Samples) for the in furtherance of the
                                                                                  !
                                                                                  f

Purpose. Samples are considered Confidential Information, including the           !j
                                                                                  !
results of any investigations of said Samples.

      The parties are to exchange Confidential Information and Akzo Nobel is to
provide Samples, only for carrying out the/above purpose.


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         The foregoing restrictions on disclosure and use shall not be applicable
 to any Confidential Information that the receiving party can demonstrate:

         (i)    to have been rightfully in its possession prior to the date of this
 Agreement;

         (ii)   to have been in the public domain prior to the date of this
 Agreement;

         (iii) to have become a part of the public domain by publication or other
 means, except an unauthorized act or omission by the receiving party; or

         (iv) to have been supplied to the receiving party by a third party as a
 matter of right without restriction on use or disclosure; or

         Confidential Information shall not be considered within the above
exceptions merely because the Confidential Information is embraced by more
general information within the exception. Any combination of features of
Confidential Information shall not be considered within the above exceptions
merely because individual features, as opposed to the combination itself and
its principles of operation, are within the exceptions.

         Nanochem agrees to not analyze, determine or attempt to determine the
chemical composition and/or physical structure of Samples, except to the
extent necessary to carry out the Purpose, unless written authorization to the
contrary is provided by Akzo Nobel. Nanochem further agrees to not make
available any portion of Samples to any third party and shall prevent access by
any third party to any portion of Samples, unless permitted otherwise by Akzo
Nobel.

     A receiving party shall limit access to Samples (in the case of
Nanochem) and Confidential Information of the disclosing party to only those
of its employees who need access in order to effectuate this Agreement, and
to the extent such employees are not alreapy so obligated by employment


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   agreement or otherwise, the parties shall require by express written
   agreement that such employees maintain said Confidential Information in
   confidence and that they shall use such Information and Samples only in
   accordance with the terms of this Agreement.

         Upon the written request of Akzo Nobel, Nanochom shall return any and
   all quantities of the Samples provided then In the Nanochem's possession.
   There are no express or implied warranties on Samples, and each Akzo Nobel
   expressly disclaims the implied warranties of merchantability and fitness for a
   particular use. The Samples may be experimental, and Nanochem shall
   handle in accordance with instructions.

         Neither Party will make any public statements with respect to the
   business, personnel, or affairs, including the existence of this Agreement, nor
   use the name, trademark, or likeness of the other Party, without express prior
  written consent of an authorized representative of such Party.

         At any time upon the written request of the disclosing party, the recipient
  party shall, within a reasonable time, destroy and confirm destruction to the
  disclosing party, all writton or physical embodiments, including all copies, of
  the disclosing party's Confidentiallnformatioll disclosed to the recipient party
  and then in its possession; provided, however, that each party may retain one
  copy of Confidential Information for archival pLJrposes.

        Neither this agreement, the providing of Samples, nor the disclosure of
  Confidential Information hereunder by either party shalf be deemed by
  implication or otherwise to vest in the other party any present or future rights
  in any patents, trade secrets or intellectual property of the providing or
  disclosing party and no Ilconse is granted except as explicitly stated herein.
  The obligations of confidentiality of a recipient hereunder specifically prohibit
  filing any applications for patent or other prote-ction that disclose Confidential
  Information of the disclosing party.
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         The nondisclosure and nonuse provisions under this agreement shall
 remain in effect for a period of ten (10) years from the date of this agreement.

         This Agreement shall not be assignable by either party without the prior
 written consent of the other party, except to a successor of the entire
 business pertinent to the field of this Agreement of the assigning party,
 subject to the approval of the other party, which approval shall not be
 unreasonably withheld. No assignment shall be valid until the assignee has
 assumed the rights and obligations of the assigning party under this
 Agreement. Any assignment of this Agreement shall not relieve the assignor
 of the restrictions on use, duplication and disclosure of Confidential
 Information as set forth herein.

         Each party acknowledges that any breach of this Agreement will cause
 irreparable harm to the other party and that money damages will not provide
 an adequate remedy therefore. Each party, therefore, agrees and consents to
 the granting of injunctive or otherequitabJe relief in favor of the other party,
without requirement of a bond, as a remedy for any such breach, in addition to
all other remedies now or hereafter existing at law, in equity, by stature or
otherwise.

       If either party is required by law, including without limitation pursuant to
the terms of a subpoena or other similar document, to disclose Confidential
Information of the other party, said first party shall immediately advise the
other party to allow the other party to seek a protective order. Absent any
such protective order, the receiving party. shall be permitted to disclose only
such Confidential Information as it is advised by counsel must be disclosed
bylaw.

      Each receiving party agrees to fully comply with the U.S. Export
Administration Laws and Rules to the extent such Rules apply to Confidential
Information received hereunder, and further agrees to not export, reMexport or
                                              I

otherwise transfer any suchConfidentiall~formationto any prohibited country

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 as defined by the U.S. Export Administration Regulations unless properly
 authorized by the U.S.· Government and prior written permission is received
 from the other party.

        This Agreement shall be interpreted according to the laws of the State
 of IlIino.is without giving effect to its conflict of law provisions. The Agreement
 shall come into force on the effective date stated at the top of page 1 and shaH
 terminate two (2) years thereafter. The obligations of confidentiality and non-
 use shall survive termination as agreed herein.


       The Parties shall attempt in good faith to resolve promptly any dispute
 arising out of, or in connection With, this Agreement by negotiation. If such
 dispute has not been resolved by negotiation within twenty (20) days of the
 disputing party's written notice, or if the Parties fail to meet within twenty (20)
 days as from such notice, the Parties shall endeavor to settle the dispute by
mediation under the supervision of and in accordance with the CPR Model
Mediation Procedure for Business Dispute. Unless othelWise agreed, both
Parties or each individual party may request the CPR to appoint an independent
mediator. The language of mediation shall be English and the seat of mediation
shall be agreed upon by both Parties, and, in the event the Parties do not timely
agree, the seat will be determined by the mediator. If the dispute has not been
resolved by non-binding means as described herein within forty five (45) days of
the initiation of such procedure, the dispute shall be finally and exclusively
settled by the courts of the State of Illinois. No negotiation or mediation shall
be deemed to vitiate or reduce the obligations and liabilities of the parties or
deemed a waiver by a party of any claims or remedies to which the party
                                                                                       .'.
would otherwise be entitled. Any and all statements made in the course of
such negotiation or mediation shall be strictly off the record and shall not be        ~~
                                                                                       .;.,
admissible in any court or arbitration proceeding. This paragraph shall not be
construed to limit or to preclude either party from bringing any legal action for
injunctive or other provisional relief as neic,essary or appropriate.


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          The parties indicate their agreement to the foregoing terms and
 conditions by having both counterparts of this Agreement executed by a duly
 authorized representative and each retaining one fully executed counterpart.


 Yours truly,




. AKZO NOBEL NON-STICK COATINGS LLC




 Title:    72;tl l.fi"(   )Apt-A}/!/-   6-e'1-




By:._ _D_(}f/U-(_· _~....;;;......'
                             -bl-----




Date:     6 ~ '(-0 f




We hereby confirm our agreement on the foregoing:



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NANOCHEM TECHNOLOGIES, LTD.


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                       EXHIBITD
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                                                                LAWOFFlCES
                                                  WEffi & PARTNERS LLP
                                               TIm WIDENER BUTI.DING • SUITE 500
                                                        1339 CHESTNUT STREET
                                                        PHILADELPHIA, PA 19107'


                                                               (215) 665.8181
                                                            (215) 665.8464 FAX
Walter Weir, Jr.                                                                                                    Direct bial (215) 241.7751
Member of PA, NJ Bar                                                                                          E·mail: wweir@weirpartners.com
                                                             March 10, 2010

       Via Overnight Mail Delivery

       Nanochem Technologies, Ltd.
       1179 Kent Street
       Elkhart, Indiana 46514-1741

       Attention: . Mr. Jeffrey W. Schwartz, President
                    Mr. Richard J. Lutz, Vice President/General Manager

       Dear Messrs. Schwartz and Lutz:

              This firm is legal counsel to Whitford Worldwide Company, and its subsidiary
       and affiliated entities (collectively, "Whitford/l), whose principal place of business in the
       United States is located at 47 P~k Avenue, Elverson, Pennsylvania. Whitford is
       engaged in the business of developing and manufacturing a wide variety of non-stick
       coatings used in many consumer and commercial applications ranging from cookwar.e,
       bakeware and appliances to textiles, fasteners, automobiles and coatings for chemical
       processing fudustries and the petrochemical industry.

              In May 2009, Whitford completed a transaction with Akzo Nobel Coatings
       International B.V. and its affiliates (collectively, Akzo Nobel/l) pursuant to which
                                                                              II


       Whitford acquired all of the liquid non-stick coating business, and the powder non-stick
       coating business for cookware and bakeware, of Akzo Nobel throughout the world,
       including without limitation, at Akzo Nobel's locations in the United States.      .

              Whitford is aware that Akzo Nobel and Nanochem Technologies, Ltd.
       ("Nanochem/l) entered into a Non-Disclosure AgreeIl1-ent dated June 2, 2008
       (" Agreement/l) relating to the possession and use by Nanochem of certain confidential
       information belonging to Akzo Nobel including without limitation, " .. .formulas,
       product specifications, sales forecasts and pr~cessingknow-how./I A copy of this
       Agreement is enclosed with this letter for your reference. Akzo Nobel's confidential
       information described in the Agreement, as well as the benefits of the provisions
       imposing restrictions on Nanochem's disclosure and use of this confidential
       information, were acquired by Whitford aS ipf1It of its transaction.with Akzo Nobel.


         DELAWARE OFFICE: 824 MARKET STREET MALL' SUITE lqOl . P.O. BOX 708 . WILMINGTON. DE 19899 . (302) 652·8181' (302) 652·8909 FAX
       NEW JERSEY OFFICE: 10 MELROSE AVENUE· SUITE 250 . WOODCREST PAVILION· CHERRY Hlll., NJ 08003 . (856) 858·8301· (856) 858·8305 FAX
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WEIR & PARTNERS UP



   Nanochem Technologies, Ltd.
   Page 2

           Whitford has good reason to believe that Nanochem is in breach of the terms and
   conditions of the Agreement in that Nanochem is using confidential information in its
   possession, which previously belonged to Akzo Nobel and is now owned by Whitford,
   to manufacture and sell non-stick coating products to third parties. These actions by
   Nanochem constitute a clear violation of the Agreement which remains in full force and
   effect.

          It should come as no surprise to you that because of its substantial investment in
   the non-stick coating business purchased from Akzo Nobel, Whitford intends to
   vigorously enforce its rights and remedies in situations such as that presented by
   Nanochem's breach of the Agreement. To that end, if necessary, Whitford is prepared
   to take appropriate legal action against Nanochem to protect its proprietary interest in
   the confidential information acquired from Akzo Nobel which is the subject of the
   Agreement.

           On behalf of our client, therefore, demand is made that Nanochem
   IMMEDIATELY CEASE AND DESIST from utilizing any confidential information
   previously belonging to Akzo Nobel-and now owned by Whitford in violation of the
   restrictions on disclosure and use of this confidential information, as set forth in the
   Agreement.

           Nanochem has five (5) calendar days from the date of this letter to contact us
   and confirm, by providing us with such written information and/ or documentation as
   we deem satisfactory, of Nanochem's compliance to these demands. If Nanochem fails
   to comply with these demands, Whitford wi         no choice but to proceed in a
   manner appropriate to protect its rights  anoche's failure to comply with these
   demands may expose Nanochem to f:~action for inj ctive relief or other monetary
   damages and any other relief permitted under state nd federal law, including court
   costs, attorneys' fees and punitiv/damages.

              Please be so advised.




   WWJR/kmm                                       I

   cc:        David P. Willis, Jr., Pres' nt        otd Worldwide Company
              Brian Kilty, Chief Financial Officer, Whitford Worldwide Company

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      Case 2:10-cv-06948-BMS Document 1-1 Filed 11/29/10 Page 56 of 61

                                            LAW OFFICES
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                          A Pennsylvania Limited Liability Partnership

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                                     (215) 665-8181
                                  (?1';)   hh"_~4h4 FAX




Stephen M. Giroux                                                   Direct Dial (215) 241-7775
Member Pennsylvania and                                        E-Mail: sgiroux@weirpartners.com
New Jersey Bar

                                           April 15, 2010

VIA ELECTRONIC MAIL Games.brotherson@bakerd.com)

James R. Brotherson, Esquire
Baker & Daniels LLP
202 South Michigan Street
Suite 1400
South Bend, IN 46601

       Re:     Nanochem Technologies, LLC/Whitford Worldwide Company

Dear Mr. Brotherson:

      I am writing this letter with further reference to the March 16, 2010 letter to you
from Walter Weir, Jr. of this firm.

       As you may recall, Mr. Weir sent a letter to. Nanochem Technologies, LLC
(/JNanochem/J) dated March 10, 2010 in which he indicated that our client, Whitford
Worldwide Company (/JWhitford/J), has good reason to believe that Nanochem is in
breach of the July 2, 2008 Non-Disclosure Agreement between Nanochem and Akzo
Nobel Non-Stick Coatings LLC (/J Akzo Nobel/J) in that Nanochem is using confidential
information in its possession, which previously belonged,to Akzo Nobel and is now
owned by Whtford, to manufacture and sell non-stick coating products to third parties.

       You responded to Mr. Weir by letter dated March 12,2010 which stated in part
/J ••• Nanochem does not use any formulations or Akzo Nobel samples in furtherance of
Nanochem's business./J In his March 16th letter, Mr. Weir requested that you provide us
with information in the nature of an audit trail reflecting the fact that all samples and
formulas from Akzo Nobel were returned by Nanochem. Despite the fact that nearly
one month has passed, we still have not re~eived the information from you requested
by Mr. Weir in his letter of March 16th .     .
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WEIR & PARTNERS UP


  James R. Brotherson, Esquire
  Baker & Daniels
  Page 2



        Whitford continues to have serious concerns that Nanochem has
  misappropriated formulas, samples and other confidential information rightfully
  belonging to Whitford in violation of the Non-Disclosure Agreement between
  Nanochem and Akzo Nobel. Therefore, we are repeating our request for supporting
  information confirming the representation made in your March 12th letter to Mr. Weir,
  and we are requesting that such information be provided within five (5) calendar days
  from the date of this letter. Otherwise, Whitford will have no alternative but to pursue
  appropriate action to protect its rights with respect to such confidential information.

          Finally, I want to make you aware of the fact that Whitford has engaged the
  services of Adam F. Cox, Esquire of your firm to represent Whitford for the past several
  years in connection with virtually all aspects of Whitford's United States patent work.
  In fact, I have personally worked with Mr. Cox on Whitford-related matters. It would
  appear, therefore, to be a conflict of interest for your firm to represent Nanochem with
  respect to this potential dispute. However, it is our hope that this matter can be quickly.
  resolved in an amicable fashion upon receipt of the requested information so that any
  controversy between Nanochem and Whitford can be avoided.




  SMGjkmm
  cc: Mr. David P. Willis, Jr.
      Mr. Brian Kilty




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                                        (215) 665-8181
                                     17.1:;)   (in:;_~4n4   FAX




Stephen M. Giroux                                                      Direct Dial (215) 241-7775
Member Pennsylvania and                                           E-Mail: sgiroux@weirpartners.com
New Jersey Bar

                                         May 7,2010

VIA ELECTRONIC AND REGULAR MAIL
Games.brotherson@bakerd.com)

James R. Brotherson, Esquire
Baker & Daniels LLP
202 South Michigan Street
Suite 1400
South Bend, IN 46601

       Re:     Nanochem Technologies, LLC/Whitford Wo:ddwide Company

Dear Mr. Brotherson:

      I am writing with further reference to my April 15, 2010 letter to you, a copy of
which is enclosed for your convenience.                   .

        As you are aware, the potential conflict of interest in connection with your firm's
representation of Nanochem Technologies, LLC ("Nanochem") has been resolved with
our client, Whitford Worldwide Company ("Whitford"), by letter dated'Aprl120, 2010,
consenting to your representation of Nanochem and agreeing to waive any potential
conflict of interest, provided that Baker & Daniels LLP may not represent Nanochem in
any litigation adverse to Whitford that may arise with respect to this matter.

       To date, I have received no response from you to my April 15 th letter, nor have I
even received the courtesy of an acknowledgment of this correspondence and an
indication of whether or not you intend to reply. My client and I find this lack of
communication from you not only troubling, but also most puzzling under these
somewhat unusual circumstances.
                                                     'I
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WEIR & PARTNERS LLP


  James R. Brotherson, Esquire
  Baker & Daniels
  Page 2


         Please advise me as soon as possible by whatever means you think appropriate
  whether or not you intend to reply to my April 15th letter, and if so, when I can expect
  to receive a meaningful and responsive reply. If your firm is no long~r representing
  Nanochem in this matter, please so indicate and provide me with the contact
  information for Nanochem's new legal counsel.

           As I hope is abundantly clear to you by now, "Whitford strongly believes that
    Nanochem has misappropriated formulas, samples and other confidential information
    rightfully belonging to VVhitford in violation of the July 2, 2008 Non-Disclosure
    Agreement between Nanochem and Akzo Nobel Non-Stick Coatings, LLC ("Akzo
    Nobel") and has no intention of letting this matter drop. Accordingly, if we do not
  . receive a substantive response to my April 15 th letter by the close of business on
    Wednesday, May 12, 2010, "Whitford will, without further notice to you or your client,
    take appropriate action to protect its interests with respect to the misappropriation of
    the confidential information by Nanochem. In the event that litigation is initiated by
    Whitford, which is certainly a strong possibility at the moment, your firm will not be
    permitted to represent Nanochem.

          It remains Whitford's preference to discuss and resolve this matter without the
  necessity of litigation. However, your failure to provide us with a constructive and
  meaningful response, and to furnish the documentation we have repeatedly requested
  to support your contention that Nanochem does not use formulas previously belonging
  to AkzoNobel and now owned by Whitford in furtherance of its business, and to
  confirm that all samples and formulas from Akzo Nobel have been returned by
  Nanochem, will leave my client no alternative but to commence such action to protect
  its interests.

         Please be guided accordingly.




  SMG/kmrn
  cc: Mr. David P. Willis, Jr.
      Mr. Brian Kilty
  356874-1
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                                                   (215) 665-8464 FAX
Edward T. Kang                                                                                 Direct Dial (215) 241-7764.
Member of PA, NJ and NY Bars                                                           E-Mail: ekang@weirpartners.com



                                                       June 10,2010


VIA ELECTRONIC MAIL (james.brotherson@bakerd.com)
& FIRST CLASS MAIL
James R. Brotherson, Esquire
Baker & Daniels LLP
202 South Michigan Street
Suite 1400
South Bend, IN 46601

        Re:        Nanochem Technologies, LLClWhitford Worldwide Company

Dear Mr. Brotherson:

I am litigation counsel on behalf of Whitford Worldwide Company. Whitford believes your
client Nanochem Technologies, LLC is in breach of the July 2,2008 Non-Disclosure Agreement
entered between it and Akzo Nobel Non-Stick Coatings LLC, which agreement has been
assigned to Whitford, by its using confidential formulas and samples covered under the
agreement.

We asked you, on at least three occasions, to provide us with information substantiating your
claim that "Nanochem does not use any formulations or Akzo Nobel samples in furtherance of
Nanochem's business." The last correspondence we sent you was on May 7, 2010, and, yet, we
have not heard from you.

You should consider this letter our last request that you provide us with information supporting
your claim, including all materials showing that all confidential samples and formulas have been




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WEIR & PARTNERS LLP

  James R. Brotherson, Esquire
  June 10,2010
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  returned by Nanochem. Without receiving your timely response, I will have no choice but to
  conclude that Nanochem is breaching its obligations to Whitford and take appropriate actions.


  Very truly yours,




  ETK/lmc

  cc:    Mr. David P. Willis, JI. (via facsimile)
         Mr. Brian Kilty (via facsimile)
         Mr. Michael Miller (via facsimile)
